                             1
                                                                           Schedule 2
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                                        Supplemental Schedule of Proposed Professionals’ Connections to Interested Parties
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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                              Case: 19-30088   Doc# 8334-2     Filed: 07/08/20       Entered: 07/08/20 17:02:47   Page 1
                                                                       of 55
#    Interested Party Name                   Proposed Professionals Connection Name            Connection Type
1    7-Eleven Inc                            7-EL EVEN                                         Clients in matters
                                                                                               unrelated to the debtors
2    A A A N orthern CaliforniaN evada&   CO O P                                               Clients in matters
     U tah Insurance Exchange asS ubrogee                                                      unrelated to the debtors
     ofitsP olicyholdersA ffected by the
     Butte Fire
3    A BB Inc                             A BB A S EA BR O W N BO VER IL T D                   Clients in matters
                                          TN B                                                 unrelated to the debtors
4    A BM BuildingS olutionsL L C            A BM                                              Clients in matters
                                                                                               unrelated to the debtors
5    A BM IndustriesIncorporated             A BM                                              Clients in matters
                                                                                               unrelated to the debtors
6    A ccenture                              U PS                                              Clients in matters
                                             VL                                                unrelated to the debtors
7    A dventInternationalCorp.               A CE L IM IT ED                                   Clients in matters
                                             A DVEN T                                          unrelated to the debtors
                                             A dvent-Estacio
                                             A dvent/CCC Inform ation S ervices
                                             A DVEN T IN DIA P E A DVIS O R S P VT .L T D.
                                             A DVEN T IN T ER N A T IO N A L
                                             A DVEN T IN T ER N A T IO N A L CO R P .
                                             ADVEN T IN T ER N AT IO N AL CO R P O R AT IO N
                                             A dventInternationalFrance
                                             A DVEN T IN T ER N A T IO N A L GM BH
                                             A dventInternationalHongKongL im ited
                                             A DVEN T IN T ER N A T IO N A L L L C
                                             A DVEN T IN T ER N A T IO N A L P L C
                                             A L L N EX
                                             A nsira
                                             A viancaL ifem iles
                                             BA L L CO R P
                                             BA L L CO R P .
                                             BAL L CO R P O R AT IO N
                                             BU EN A VEN T U R A
                                             BW IGM BH
                                             CA R T A S I
                                             CO N CA R DIS GM BH
                                             ES T ÁCIO P A R T ICIP A ÇÕ ES S .A .
                                             EVO N IK IN DU S T R IES A G
                                             FÆ R CH P L A S T
                                             FIN A N CIA L FO R CE
                                             Fleetcor-S em parar
                                             GE Distributed P ow er
                                             GE P O W ER & W A T ER
                                             HEIN EKEN IN T ER N A T IO N A L
                                             Hypo A lpe A dria
                                             IN N IO
                                             inVentivHealth
                                             inVentivHealth S ellingS olutions
                                             L i& FungL td.
                                             L i& Fung,GlobalBrands
                                             M O EN
                                             M O EN IN C.
                                             N ET S A /S
                                             N exi-CartaS i



    Case: 19-30088          Doc# 8334-2             Filed:Schedule
                                                           07/08/202 - 1 Entered: 07/08/20 17:02:47        Page 2
                                                             of 55
#    Interested Party Name         Proposed Professionals Connection Name            Connection Type
                                   P A R T Y CIT Y
                                   S ertaS im m ons
                                   S ociedadedeEnsinoS uperiorEstaciodeS aL tda
                                   T HYS S EN KR U P P A G
                                   T HYS S EN KR U P P EL EVA T O R A G
                                   U N IT 4
                                   W AL M AR T
                                   W A L M A R T IN C.
8    A dventInternationalGm bH     A CE L IM IT ED                                   Clients in matters
                                   A DVEN T                                          unrelated to the debtors
                                   A dvent-Estacio
                                   A dvent/CCC Inform ation S ervices
                                   A DVEN T IN DIA P E A DVIS O R S P VT .L T D.
                                   A DVEN T IN T ER N A T IO N A L
                                   A DVEN T IN T ER N A T IO N A L CO R P .
                                   ADVEN T IN T ER N AT IO N AL CO R P O R AT IO N
                                   A dventInternationalFrance
                                   A DVEN T IN T ER N A T IO N A L GM BH
                                   A dventInternationalHongKongL im ited
                                   A DVEN T IN T ER N A T IO N A L L L C
                                   A DVEN T IN T ER N A T IO N A L P L C
                                   A L L N EX
                                   A nsira
                                   A viancaL ifem iles
                                   BA L L CO R P
                                   BA L L CO R P .
                                   BAL L CO R P O R AT IO N
                                   BU EN A VEN T U R A
                                   BW IGM BH
                                   CA R T A S I
                                   CO N CA R DIS GM BH
                                   ES T ÁCIO P A R T ICIP A ÇÕ ES S .A .
                                   EVO N IK IN DU S T R IES A G
                                   FÆ R CH P L A S T
                                   FIN A N CIA L FO R CE
                                   Fleetcor-S em parar
                                   GE Distributed P ow er
                                   GE P O W ER & W A T ER
                                   HEIN EKEN IN T ER N A T IO N A L
                                   Hypo A lpe A dria
                                   IN N IO
                                   inVentivHealth
                                   inVentivHealth S ellingS olutions
                                   L i& FungL td.
                                   L i& Fung,GlobalBrands
                                   M O EN
                                   M O EN IN C.
                                   N ET S A /S
                                   N exi-CartaS i
                                   P A R T Y CIT Y
                                   S ertaS im m ons
                                   S ociedadedeEnsinoS uperiorEstaciodeS aL tda
                                   T HYS S EN KR U P P A G
                                   T HYS S EN KR U P P EL EVA T O R A G
                                   U N IT 4


    Case: 19-30088       Doc# 8334-2   Filed:Schedule
                                              07/08/202 - 2 Entered: 07/08/20 17:02:47           Page 3
                                                of 55
#     Interested Party Name                  Proposed Professionals Connection Name                Connection Type
                                             W AL M AR T
                                             W A L M A R T IN C.
9     A dventU nderw ritingL td              A GT                                                  Clients in matters
                                             A lFuttaim Group(A FG)                                unrelated to the debtors
                                             FA IR
10    A ECO M T echnicalS ervicesInc         L G GR O U P                                          Clients in matters
                                                                                                   unrelated to the debtors
11    A egon A ssetM anagem ent              L A BA N Q U E P O S T A L E                          Clients in matters
                                             T ransam ericaCorporation                             unrelated to the debtors
12    A eraEnergy L L C                      ER M                                                  Clients in matters
                                             Jiffy L ube International,Inc.                        unrelated to the debtors
                                             P ET R ÓL EO S M EX ICA N O S
                                             S hellChem icalsEurope B.V.
                                             S hellInternationalP etroleum Com panyL im ited
                                             S hellM idstream P artners,L .P .
                                             T he S hellP etroleum Com pany L im ited
13    A etna                                 A ET N A U .S .HEA L T HC A R E                       Clients in matters
                                             CVS Health Corporation                                unrelated to the debtors
14    A etnaInternational                    IN G Deutschland Gm bH                                Clients in matters
                                             L endico Deutschland Gm bH                            unrelated to the debtors
15    A GCS M arine InsuranceCom pany        A irbusS A S                                          Clients in matters
                                             A llianzHrvatska                                      unrelated to the debtors
                                             A llianzItaly
                                             BayerCropS cience S .A .
                                             BayerCropS cience,Inc.
                                             BeiersdorfU S A
                                             BEP EN S A
                                             BM W Japan Corp.
                                             IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                             YorkBranch)
                                             L EM
                                             M AT R ADE
                                             W IN T ER S HA L L DEA GM BH
16    A IG P roperty Casualty Com pany       S T A T E O FP EN N S YL VA N IA                      Clients in matters
                                                                                                   unrelated to the debtors
17    A IG S pecialty Insurance Com pany     S T A T E O FP EN N S YL VA N IA                      Clients in matters
                                                                                                   unrelated to the debtors
18    A llianzGlobalCorporate & S pecialty   A irbusS A S                                          Clients in matters
                                             A llianzHrvatska                                      unrelated to the debtors
                                             A llianzItaly
                                             BayerCropS cience S .A .
                                             BayerCropS cience,Inc.
                                             BeiersdorfU S A
                                             BEP EN S A
                                             BM W Japan Corp.
                                             IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                             YorkBranch)
                                             L EM
                                             M AT R ADE
                                             W IN T ER S HA L L DEA GM BH
19    A llianzGlobalR isksU S Insurance      A irbusS A S                                          Clients in matters
      Com pany                               A llianzHrvatska                                      unrelated to the debtors
                                             A llianzItaly
                                             BayerCropS cienceS .A .
                                             BayerCropS cience,Inc.


     Case: 19-30088          Doc# 8334-2         Filed:Schedule
                                                        07/08/202 - 3 Entered: 07/08/20 17:02:47               Page 4
                                                          of 55
#     Interested Party Name                  Proposed Professionals Connection Name                Connection Type
                                             BeiersdorfU S A
                                             BEP EN S A
                                             BM W Japan Corp.
                                             IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                             YorkBranch)
                                             L EM
                                             M AT R ADE
                                             W IN T ER S HA L L DEA GM BH
20    A llied W orld A ssurance Com pany     A GT                                                  Clients in matters
                                             A lFuttaim Group (A FG)                               unrelated to the debtors
21    A m ecFosterW heelerEnvironm ent&      GeneralElectricO il& Gas-Dow nstream T echnology      Clients in matters
      Infrastructure Inc                     S olutions                                            unrelated to the debtors
22    A m erex BrokersL L C                  BGC (A ustralia)P T Y L td.                           Clients in matters
                                                                                                   unrelated to the debtors
23    A m erican A irFilterCom pany Inc-     A IR EF                                               Clients in matters
      P ow er& IndustrialDivision                                                                  unrelated to the debtors
24    A m erican A lternative Insurance      A pollo HospitalsEnterprise L im ited                 Clients in matters
      Com pany                               Bancolom bia-Banistm o                                unrelated to the debtors
                                             R EL A
25    A m erican A utom obile Insurance      A irbusS A S                                          Clients in matters
      Com pany                               A llianzHrvatska                                      unrelated to the debtors
                                             A llianzItaly
                                             BayerCropS cience S .A .
                                             BayerCropS cience,Inc.
                                             BeiersdorfU S A
                                             BEP EN S A
                                             BM W Japan Corp.
                                             IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                             YorkBranch)
                                             L EM
                                             M AT R ADE
                                             W IN T ER S HA L L DEA GM BH
26    A m erican Fam ily Hom e Insurance    A pollo HospitalsEnterprise L im ited                  Clients in matters
      Com pany                              Bancolom bia-Banistm o                                 unrelated to the debtors
                                            R EL A
27    A m erican GeneralInsurance Com pany S T A T E O FP EN N S YL VA N IA                        Clients in matters
      dbaA N P A C GeneralInsurance                                                                unrelated to the debtors
      Com pany
28    A m erican Hom e A ssurance C om pany S T A T E O FP EN N S YL VA N IA                       Clients in matters
                                                                                                   unrelated to the debtors
29    A m erican Hydro Corporation           W ärtsiläFinland O y                                  Clients in matters
                                                                                                   unrelated to the debtors
30    A m erican Insurance Com pany          A irbusS A S                                          Clients in matters
                                             A llianzHrvatska                                      unrelated to the debtors
                                             A llianzItaly
                                             BayerCropS cience S .A .
                                             BayerCropS cience,Inc.
                                             BeiersdorfU S A
                                             BEP EN S A
                                             BM W Japan Corp.
                                             IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                             YorkBranch)
                                             L EM
                                             M AT R ADE
                                             W IN T ER S HA L L DEA GM BH


     Case: 19-30088           Doc# 8334-2        Filed:Schedule
                                                        07/08/202 - 4 Entered: 07/08/20 17:02:47               Page 5
                                                          of 55
#     Interested Party Name                   Proposed Professionals Connection Name                Connection Type
31    A m erican InternationalR einsurance    S T A T E O FP EN N S YL VA N IA                      Clients in matters
      Com pany L td                                                                                 unrelated to the debtors
32    A m erican M odern Hom e Insurance      A pollo HospitalsEnterprise L im ited                 Clients in matters
      Com pany                                Bancolom bia-Banistm o                                unrelated to the debtors
                                              R EL A
33    A m erican M odern Insurance Group      A pollo HospitalsEnterprise L im ited                 Clients in matters
                                              Bancolom bia-Banistm o                                unrelated to the debtors
                                              R EL A
34    A m lin U nderw ritingL im ited         JX / M itsui                                          Clients in matters
                                                                                                    unrelated to the debtors
35    A nchorage CapitalGroup L L C on behalf CrescentCom m unities                                 Clients in matters
      ofcertain fundsand accounts                                                                   unrelated to the debtors
36    A ngelo Gordon & Co L P                 A N GEL                                               Clients in matters
                                              VER IZO N CO M M U N ICA T IO N S IN C.               unrelated to the debtors
37    A pache C orp                           A pacheC orporation                                   Clients in matters
                                                                                                    unrelated to the debtors
38    A pollo GlobalM anagem entL L C         CA F                                                  Clients in matters
                                                                                                    unrelated to the debtors
39    A rcadisU S Inc                         A rcadisN V                                           Clients in matters
                                                                                                    unrelated to the debtors
40    A rlington W ind P ow erP rojectL L C   R EN -R ede ElectricaN acionalS A                     Clients in matters
                                                                                                    unrelated to the debtors
41    A ssociated Indem nity Corporation      A irbusS A S                                          Clients in matters
                                              A llianzHrvatska                                      unrelated to the debtors
                                              A llianzItaly
                                              BayerCropS cience S .A .
                                              BayerCropS cience,Inc.
                                              BeiersdorfU S A
                                              BEP EN S A
                                              BM W Japan Corp.
                                              IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                              YorkBranch)
                                              L EM
                                              M AT R ADE
                                              W IN T ER S HA L L DEA GM BH
42    A T & T Corp                            A T & T BusinessS olutions                            Clients in matters
                                              AT & T CO M M U N ICAT IO N S                         unrelated to the debtors
                                              A T & T Com m unicationsCom pany
                                              InternationalBusinessM achinesCorporation
                                              W arnerM edia,L L C
43    A T & T M obility IIL L C               A T & T BusinessS olutions                            Clients in matters
                                              A T & T CO M M U N ICA T IO N S                       unrelated to the debtors
                                              A T & T Com m unicationsCom pany
                                              InternationalBusinessM achinesCorporation
                                              W arnerM edia,L L C
44    A T & T N etw ork                       A T & T BusinessS olutions                            Clients in matters
                                              A T & T CO M M U N ICA T IO N S                       unrelated to the debtors
                                              A T & T Com m unicationsCom pany
                                              InternationalBusinessM achinesCorporation
                                              W arnerM edia,L L C
45    A tlasCopco                             A tlasCopco Epiroc                                    Clients in matters
                                                                                                    unrelated to the debtors
46    A ttestorCapitalL L P                   P T -O I                                              Clients in matters
                                                                                                    unrelated to the debtors




     Case: 19-30088               Doc# 8334-2     Filed:Schedule
                                                         07/08/202 - 5 Entered: 07/08/20 17:02:47               Page 6
                                                           of 55
#     Interested Party Name               Proposed Professionals Connection Name                        Connection Type
47    A vangrid R enew ablesL L C         N EW YO R K S T A T E                                         Clients in matters
                                                                                                        unrelated to the debtors
48    A ZZ W S IL L C                     AZ                                                            Clients in matters
                                                                                                        unrelated to the debtors
49    Babcock& W ilcox Construction Co Inc BA BCO CK                                                    Clients in matters
                                           BabcockCM S                                                  unrelated to the debtors
50    BakerHughesU S L and                BHGE                                                          Clients in matters
                                          GeneralElectricO il& Gas-Dow nstream T echnology              unrelated to the debtors
                                          S olutions
51    Bakersfield M em orialHospital      CenturaHealth Corporation                                     Clients in matters
                                                                                                        unrelated to the debtors
52    BankofA m erica                     BIL                                                           Clients in matters
                                          Early W arningS ervices,L L C                                 unrelated to the debtors
53    BankofN ew YorkM ellon              Grupo Galicia                                                 Clients in matters
                                          Grupo M ello                                                  unrelated to the debtors
                                          T arjetaN evada-Galicia
                                          T HE W ICKS GR O U P
54    BarclaysBankP L C                   C& A                                                          Clients in matters
                                          CA P                                                          unrelated to the debtors
                                          CA P S A
                                          IHS M arkitL td.
                                          N O S
                                          R IO T IN T O GR O U P
55    BarclaysCapitalInc                  C& A                                                          Clients in matters
                                          CA P                                                          unrelated to the debtors
                                          CA P S A
                                          IHS M arkitL td.
                                          N O S
                                          R IO T IN T O GR O U P
56    BerkshireHathaw ay Energy           A xaltaCoatingsS ystem sL L C                                     Clients in matters
      R enew ables                        Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                          CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                          CS C HP ES M ergerM anagem ent
                                          DuP ontdeN em ours(France)S .A .S .
                                          Fruitofthe L oom ,Inc.
                                          M cL aneFoodserviceDistribution
                                          M ondelezBrasil
                                          M ondelezInternational,Inc.
                                          P ilotCorporation
                                          P ilotFlyingJ
                                          S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                          S .R .L .
                                          VisaEurope
57    BerkshireHathaw ay Guard Ins        A xaltaCoatingsS ystem sL L C                                 Clients in matters
                                          Berkshire Hathaw ay Inc.                                      unrelated to the debtors
                                          CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                          CS C HP ES M ergerM anagem ent
                                          DuP ontdeN em ours(France)S .A .S .
                                          Fruitofthe L oom ,Inc.
                                          M cL aneFoodserviceDistribution
                                          M ondelezBrasil
                                          M ondelezInternational,Inc.
                                          P ilotCorporation
                                          P ilotFlyingJ




     Case: 19-30088           Doc# 8334-2      Filed:Schedule
                                                      07/08/202 - 6 Entered: 07/08/20 17:02:47                        Page 7
                                                        of 55
#     Interested Party Name                     Proposed Professionals Connection Name                              Connection Type
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
58    BerkshireHathaw ay International          A xaltaCoatingsS ystem sL L C                                     Clients in matters
      Insurance L im ited                       Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                                CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                CS C HP ES M ergerM anagem ent
                                                DuP ontdeN em ours(France)S .A .S .
                                                Fruitofthe L oom ,Inc.
                                                M cL aneFoodserviceDistribution
                                                M ondelezBrasil
                                                M ondelezInternational,Inc.
                                                P ilotCorporation
                                                P ilotFlyingJ
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
59    BerkshireHathaw ay S pecialty         A xaltaCoatingsS ystem sL L C                                     Clients in matters
      Insurance Com pany                    Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                            CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                            CS C HP ES M ergerM anagem ent
                                            DuP ontdeN em ours(France)S .A .S .
                                            Fruitofthe L oom ,Inc.
                                            M cL aneFoodserviceDistribution
                                            M ondelezBrasil
                                            M ondelezInternational,Inc.
                                            P ilotCorporation
                                            P ilotFlyingJ
                                            S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                            S .R .L .
                                            VisaEurope
60    BGC Environm entalBrokerage S ervices BGC (A ustralia)P T Y L td.                                       Clients in matters
      LP                                                                                                      unrelated to the debtors
61    BlackR ockFund A dvisors                  A bbVie L td                                                        Clients in matters
                                                AM S AG                                                             unrelated to the debtors
                                                A ngloGoldA shanti-W ithdraw n Engagem ent
                                                AZ
                                                BancaFideuram
                                                BancaIT B S pa
                                                BankJuliusBär& Co.A G
                                                BHP BIL L IT O N CA N A DA IN C.
                                                BHP Billiton M etallurgicalCoal
                                                BHP B Iron O re
                                                C& A
                                                CA P
                                                CA P S A
                                                CaseysGeneralS tores,Inc.
                                                CR H
                                                CR H P L C.
                                                CR H/O ldcastle
                                                DO M O
                                                EE
                                                Grupo T elevisa
                                                Gruppo Banco BP M
                                                JL L /JG W entw orth


     Case: 19-30088          Doc# 8334-2            Filed:Schedule
                                                           07/08/202 - 7 Entered: 07/08/20 17:02:47                             Page 8
                                                             of 55
#     Interested Party Name                   Proposed Professionals Connection Name             Connection Type
                                              KlarnaHoldingA B
                                              M A 'A DEN
                                              M A CY'S IN C.
                                              O ldcastle A P G,Inc.
                                              P EL O T O N IN T ER A C T IVE,IN C.
                                              P O R T O FR O T T ER DA M
                                              P T -O I
                                              R IO T IN T O GR O U P
                                              S IR IU S X M R A DIO IN C.
                                              U N IT ED L A U N CH A L L IA N C E
                                              U N IT ED S T A T ES S T EEL CO R P
                                              U N IT ED S T A T ES S T EEL CO R P O R A T IO N
                                              W IN T ER S HA L L DEA GM BH
62    BlueM ountain CapitalM anagem ent       N EW M O U N T A IN CA P IT A L ,L L C             Clients in matters
      LLC                                                                                        unrelated to the debtors
63    BN P P aribasS ecuritiesCorp            BN P P F                                           Clients in matters
                                              IN G L ife,Korea                                   unrelated to the debtors
64    BN P P aribasU S                        BN P P F                                           Clients in matters
                                              IN G L ife,Korea                                   unrelated to the debtors
65    Canon S olutionsA m ericaInc            Canon Inc.                                         Clients in matters
                                              Canon M edicalS ystem sCorporation                 unrelated to the debtors
66    CardinalCogen                           BHGE                                               Clients in matters
                                              CO N T A CT EN ER GY                               unrelated to the debtors
                                              GECF
                                              GeneralElectricS team P ow erS ystem s
                                              IN N IO
67    CargillInc                              C& A                                               Clients in matters
                                              CargillA griculturalS upply Chain (CA S C)         unrelated to the debtors
                                              CargillCA S C S A
                                              CargillEurope BVBA
                                              CargillM alts
68    CargillL td                             C& A                                               Clients in matters
                                              CargillA griculturalS upply Chain (CA S C)         unrelated to the debtors
                                              CargillCA S C S A
                                              CargillEurope BVBA
                                              CargillM alts
69    CargillP ow erM arketsL L C             C& A                                               Clients in matters
                                              CargillA griculturalS upply Chain (CA S C)         unrelated to the debtors
                                              CargillCA S C S A
                                              CargillEurope BVBA
                                              CargillM alts
70    CarValInvestors                         C& A                                               Clients in matters
                                              CargillA griculturalS upply Chain (CA S C)         unrelated to the debtors
                                              CargillCA S C S A
                                              CargillEurope BVBA
                                              CargillM alts
71    Catlin S pecialty Insurance C om pany   A R DIA N France,S .A .                            Clients in matters
                                              A X A ChinaR egionInsuranceCom panyL im ited       unrelated to the debtors
                                              A X A T ianpingP & C Insurance Co.,Ltd.
                                              L ondon M arketGroup
                                              M AE
                                              R IO T IN T O GR O U P
                                              W IN T ER S HA L L DEA GM BH
                                              XL
                                              X L S ER VICES U K L IM IT ED


     Case: 19-30088          Doc# 8334-2          Filed:Schedule
                                                         07/08/202 - 8 Entered: 07/08/20 17:02:47            Page 9
                                                           of 55
#      Interested Party Name                 Proposed Professionals Connection Name                      Connection Type
72     Centerbridge P artnersL P             BIL                                                         Clients in matters
                                             CO O P                                                      unrelated to the debtors
                                             CP A T
                                             EssilorInternationalS A S
                                             P hoenix Insurance Com pany L im ited
                                             VA L U E P A R T N ER S GR O U P L IM IT ED
73     Certain affiliatesofA m erican        S T A T E O FP EN N S YL VA N IA                            Clients in matters
       InternationalGroup Inc:                                                                           unrelated to the debtors
74     Chubb Group:                          A ndrew sDistributing                                       Clients in matters
                                             A ndrew sDistributingCom pany                               unrelated to the debtors
                                             CS C HP ES M ergerM anagem ent
                                             O tisElevatorCom pany P ty.L td.
                                             U nited T echnologiesCorporation
                                             U T C ¿ O tis
75     CIGN A Group Insurance                ExpressS cripts,Inc.                                        Clients in matters
                                             O m adaHealth                                               unrelated to the debtors
76     CIM A Energy L td                     L N G CA N A DA                                             Clients in matters
                                             T -GaiaCorporation                                          unrelated to the debtors
77     CitadelA dvisorsL L C                 E*T R A DE FinancialCorporation                             Clients in matters
                                             Inform aticaL L C                                           unrelated to the debtors
                                             P T -O I
78     CitibankN A                           CIT Bank                                                    Clients in matters
                                             CIT IC S teel                                               unrelated to the debtors
                                             Citigroup GlobalConsum erBank
                                             FedEx/T N T Express
                                             Inform aticaL L C
79     Citigroup                             CIT Bank                                                    Clients in matters
                                             CIT IC S teel                                               unrelated to the debtors
                                             Citigroup GlobalConsum erBank
                                             FedEx/T N T Express
                                             Inform aticaL L C
80     Citigroup Energy Inc                  CIT Bank                                                    Clients in matters
                                             CIT IC S teel                                               unrelated to the debtors
                                             Citigroup GlobalConsum erBank
                                             FedEx/T N T Express
                                             Inform aticaL L C
81     Citigroup GlobalM arkets              CIT Bank                                                    Clients in matters
                                             CIT IC S teel                                               unrelated to the debtors
                                             Citigroup GlobalConsum erBank
                                             FedEx/T N T Express
                                             Inform aticaL L C
82     CitizensT elecom m unications         FCA U S L L C                                               Clients in matters
                                             VER IZO N CO M M U N ICA T IO N S IN C.                     unrelated to the debtors
83     ConeT ecInvestigationsL td            N U VIGR O U P                                              Clients in matters
                                                                                                         unrelated to the debtors
84     Constitution S tate S ervicesL L C    DX C                                                        Clients in matters
                                             P hoenix Insurance Com pany L im ited                       unrelated to the debtors
                                             T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
85     ControlS olutionsInc                  S yngentaA G                                                Clients in matters
                                             S yngentaInternationalA G                                   unrelated to the debtors
86     Cooley                                S EA T                                                      Clients in matters
                                             S EA T ,S .A .                                              unrelated to the debtors
87     CopperM ountain S olar1 L L C         P acificEnterprises                                         Clients in matters
                                             S outhern CaliforniaGasCom pany                             unrelated to the debtors
88     CopperM ountain S olarIIL L C         P acificEnterprises                                         Clients in matters


     Case: 19-30088            Doc# 8334-2      Filed:Schedule
                                                       07/08/202 - 9 Entered: 07/08/20 17:02:47                     Page 10
                                                         of 55
#      Interested Party Name                  Proposed Professionals Connection Name            Connection Type
                                              S outhern CaliforniaGasCom pany                   unrelated to the debtors
89     CoralP ow erL L C                      ER M                                              Clients in matters
                                              Jiffy L ube International,Inc.                    unrelated to the debtors
                                              P ET R ÓL EO S M EX ICA N O S
                                              S hellChem icalsEurope B.V.
                                              S hellInternationalP etroleum Com panyL im ited
                                              S hellM idstream P artners,L .P .
                                              T he S hellP etroleum Com pany L im ited
90     CreditS uisse Energy L L C             A IR CA N A DA                                    Clients in matters
                                              A irbusS A S                                      unrelated to the debtors
                                              M A T R A DE
                                              M ercerInternationalInc.
                                              M ercerInternational,Inc.
91     Crux S ubsurface Inc                   T R IN IT Y IN DU S T R IES                       Clients in matters
                                                                                                unrelated to the debtors
92     CyrusCapitalP artnersL P               L VM H -Hennessy                                  Clients in matters
                                                                                                unrelated to the debtors
93     Davidson Kem pnerCapital               N A S CA R                                        Clients in matters
       M anagem ent                           T EN ET HEA L T HCA R E                           unrelated to the debtors
                                              T EN ET HEA L T HCA R E CO R P O R A T IO N
94     DB Energy T rading                     A irbusS A S                                      Clients in matters
                                              AU N A                                            unrelated to the debtors
                                              DEKABAN KDEU T S CHEGIR O ZEN T R AL E
                                              EVO T EC
                                              IA G
                                              IberiaA irlines
                                              InternationalA irlinesGroup
                                              InvestitsionnayaKom panyaS vyazi/S vyazinvest
                                              M A T R A DE
                                              P O LY
                                              P T T GC
                                              P ublicJointS tockCom pany R ostelecom
                                              R ostelekom O A O
95     DE S haw                               S IR IU S X M R A DIO IN C.                       Clients in matters
                                                                                                unrelated to the debtors
96     DE S haw O rienteerP ortfoliosL L C    N A S CA R                                        Clients in matters
                                                                                                unrelated to the debtors
97     DellFinancialS ervicesL L C            DEL L                                             Clients in matters
                                              DellInc.                                          unrelated to the debtors
                                              EM C/VM w are
                                              VM W A R E
98     DesriP ortalR idge Developm entL L C   VisaEurope                                        Clients in matters
                                                                                                unrelated to the debtors
99     Deutsche Bank                          A irbusS A S                                      Clients in matters
                                              AU N A                                            unrelated to the debtors
                                              DEKABAN KDEU T S CHEGIR O ZEN T R AL E
                                              EVO T EC
                                              IA G
                                              IberiaA irlines
                                              InternationalA irlinesGroup
                                              InvestitsionnayaKom panyaS vyazi/S vyazinvest
                                              M A T R A DE
                                              P O LY
                                              P T T GC
                                              P ublicJointS tockCom pany R ostelecom



     Case: 19-30088           Doc# 8334-2        Filed:Schedule
                                                        07/08/202 - 10 Entered: 07/08/20 17:02:47          Page 11
                                                           of 55
#       Interested Party Name                   Proposed Professionals Connection Name          Connection Type
                                                R ostelekom O A O
100     Deutsche BankN ationalT rustCom pany A irbusS A S                                       Clients in matters
                                             AU N A                                             unrelated to the debtors
                                             DEKABAN KDEU T S CHEGIR O ZEN T R AL E
                                             EVO T EC
                                             IA G
                                             IberiaA irlines
                                             InternationalA irlinesGroup
                                             InvestitsionnayaKom panyaS vyazi/S vyazinvest
                                             M A T R A DE
                                             P O LY
                                             P T T GC
                                             P ublicJointS tockCom pany R ostelecom
                                             R ostelekom O A O
101     Deutsche BankS ecuritiesInc             A irbusS A S                                    Clients in matters
                                                AU N A                                          unrelated to the debtors
                                                DEKABAN KDEU T S CHEGIR O ZEN T R AL E
                                                EVO T EC
                                                IA G
                                                IberiaA irlines
                                                InternationalA irlinesGroup
                                                InvestitsionnayaKom panyaS vyazi/S vyazinvest
                                                M A T R A DE
                                                P O LY
                                                P T T GC
                                                P ublicJointS tockCom pany R ostelecom
                                                R ostelekom O A O
102     Deutsche BankT rustCom pany             A irbusS A S                                    Clients in matters
        A m ericas                              AU N A                                          unrelated to the debtors
                                                DEKABAN KDEU T S CHEGIR O ZEN T R AL E
                                                EVO T EC
                                                IA G
                                                IberiaA irlines
                                                InternationalA irlinesGroup
                                                InvestitsionnayaKom panyaS vyazi/S vyazinvest
                                                M A T R A DE
                                                P O LY
                                                P T T GC
                                                P ublicJointS tockCom pany R ostelecom
                                                R ostelekom O A O
103     Dignity Health                          CenturaHealth Corporation                       Clients in matters
                                                                                                unrelated to the debtors
104     Dignity Health dbaS tElizabeth          CenturaHealth Corporation                       Clients in matters
        Com m unity Hospital                                                                    unrelated to the debtors
105     Dignity Health M edicalFoundation       CenturaHealth Corporation                       Clients in matters
                                                                                                unrelated to the debtors
106     Dom inion S olarHoldingsInc             Groupe L ouisDreyfus                            Clients in matters
                                                                                                unrelated to the debtors
107     EDP R enew ablesN orth A m ericaL L C   R EN -R ede ElectricaN acionalS A               Clients in matters
                                                                                                unrelated to the debtors
108     EEN L P and Enbridge L P                EE                                              Clients in matters
                                                                                                unrelated to the debtors
109     ElDorado Hydro L L C                    EN EL Endesa                                    Clients in matters
                                                Enel-Endesa                                     unrelated to the debtors
                                                EN T EL



      Case: 19-30088           Doc# 8334-2           Filed:Schedule
                                                            07/08/202 - 11 Entered: 07/08/20 17:02:47      Page 12
                                                               of 55
#       Interested Party Name                   Proposed Professionals Connection Name                              Connection Type
110     ElP aso N aturalGasCom pany             KIN D L L C                                                         Clients in matters
                                                                                                                    unrelated to the debtors
111     ElectricInsurance C om pany             BHGE                                                                Clients in matters
                                                CO N T A CT EN ER GY                                                unrelated to the debtors
                                                GECF
                                                GeneralElectricS team P ow erS ystem s
                                                IN N IO
112     ElsterA m erican M eterCom pany L L C   W estinghouse ElectricCorp.                                         Clients in matters
                                                                                                                    unrelated to the debtors
113     Em pyrean CapitalP artnersL P on behalfInform aticaL L C                                                    Clients in matters
        ofcertain fundsand accounts                                                                                 unrelated to the debtors
114     EnelGreen P ow erN orth A m ericaInc    EN EL Endesa                                                        Clients in matters
                                                Enel-Endesa                                                         unrelated to the debtors
                                                EN T EL
115     EnelX                                   EN EL Endesa                                                        Clients in matters
                                                Enel-Endesa                                                         unrelated to the debtors
                                                EN T EL
116     Energy CapitalP artners                 U S S IL ICA                                                        Clients in matters
                                                                                                                    unrelated to the debtors
117     Environm entO ne Corporation            A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                                Berkshire Hathaw ay Inc.                                            unrelated to the debtors
                                                CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                CS C HP ES M ergerM anagem ent
                                                DuP ontdeN em ours(France)S .A .S .
                                                Fruitofthe L oom ,Inc.
                                                M cL aneFoodserviceDistribution
                                                M ondelezBrasil
                                                M ondelezInternational,Inc.
                                                P ilotCorporation
                                                P ilotFlyingJ
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
118     EvoquaW aterT echnologiesL L C          EW T                                                                Clients in matters
                                                                                                                    unrelated to the debtors
119     ExpressS criptsHoldingCom pany          ExpressS cripts,Inc.                                                Clients in matters
                                                O m adaHealth                                                       unrelated to the debtors
120     Fairfax Co                              A GT                                                                Clients in matters
                                                A lFuttaim Group (A FG)                                             unrelated to the debtors
121     Farallon CapitalM anagem entL L C       Canon M edicalS ystem sCorporation                                  Clients in matters
                                                CO O P                                                              unrelated to the debtors
                                                GR U P O L A L A
                                                GR U P O L A L A S .A .DE C.V.
                                                Ironw ood P harm aceuticals
                                                Ironw ood P harm aceuticals,Inc.
                                                M A N BA N G
                                                N A S CA R
                                                N U VIGR O U P
                                                TM PL
                                                T oshibaDigitalS olutionsCorporation
122     FederalS ignalCorporation-Field         FER D                                                               Clients in matters
        S ervice Division                       FER D A S                                                           unrelated to the debtors
123     Fidelity and Guaranty Insurance         DX C                                                                Clients in matters
        U nderw ritersInc                       P hoenix Insurance Com pany L im ited                               unrelated to the debtors
                                                T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.


      Case: 19-30088          Doc# 8334-2          Filed:Schedule
                                                          07/08/202 - 12 Entered: 07/08/20 17:02:47                            Page 13
                                                             of 55
#       Interested Party Name                   Proposed Professionals Connection Name                Connection Type
124     Fidelity M anagem ent& R esearch        GA F                                                  Clients in matters
        Com pany                                Ironw ood P harm aceuticals                           unrelated to the debtors
                                                Ironw ood P harm aceuticals,Inc.
125     Fidelity M anagem entT rustCom pany     GA F                                                  Clients in matters
                                                Ironw ood P harm aceuticals                           unrelated to the debtors
                                                Ironw ood P harm aceuticals,Inc.
126     Firem an’sFund Insurance C om pany      A irbusS A S                                          Clients in matters
                                                A llianzHrvatska                                      unrelated to the debtors
                                                A llianzItaly
                                                BayerCropS cience S .A .
                                                BayerCropS cience,Inc.
                                                BeiersdorfU S A
                                                BEP EN S A
                                                BM W Japan Corp.
                                                IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                YorkBranch)
                                                L EM
                                                M AT R ADE
                                                W IN T ER S HA L L DEA GM BH
127     FirstS pecialty Insurance Corporation   S w issR e A ssetM anagem ent                         Clients in matters
                                                S w issR e L td                                       unrelated to the debtors
                                                Youse C olom bia
128     FiveP ointsConstruction Co Inc          T R IN IT Y IN DU S T R IES                           Clients in matters
                                                                                                      unrelated to the debtors
129     FluorCorporation                        A B-Inbev(A m bev)                                    Clients in matters
                                                A M BEV                                               unrelated to the debtors
                                                A m bevA rgentina
                                                A M BEV S .A .
130     Ford M otorCom pany                     A ston M artin Japan                                  Clients in matters
                                                CO O P                                                unrelated to the debtors
                                                Ford O tosan
                                                Ford S outh A m ericaHoldings,L L C
131     Fording                                 U N W om en                                           Clients in matters
                                                                                                      unrelated to the debtors
132     ForefrontP ow erL L C                   CS P -Com panhiaS iderúrgicado P ecém                 Clients in matters
                                                JX / M itsui                                          unrelated to the debtors
                                                M aerskT & L
                                                M O DEC,Inc.
                                                P atientsLikeM e Inc./ S om aL ogic
                                                S tarz
                                                VA L EDO
                                                VL IS .A .
133     FortisEnergy M arketing                 BN P P F                                              Clients in matters
                                                IN G L ife,Korea                                      unrelated to the debtors
134     FosterW heelerM artinezInc              GeneralElectricO il& Gas-Dow nstream T echnology      Clients in matters
                                                S olutions                                            unrelated to the debtors
135     FrontierCom m unicationsCorporation FCA U S L L C                                             Clients in matters
                                            VER IZO N CO M M U N ICA T IO N S IN C.                   unrelated to the debtors
136     FrontierCom m unicationsofA m erica, FCA U S L L C                                            Clients in matters
        Inc                                  VER IZO N CO M M U N ICA T IO N S IN C.                  unrelated to the debtors
137     G4S S ecure Integration L L C           DHL FreightGerm any HoldingGm bH                      Clients in matters
                                                                                                      unrelated to the debtors
138     G4S S ecure S olutionsInc               DHL FreightGerm any HoldingGm bH                      Clients in matters
                                                                                                      unrelated to the debtors
139     GCube Insurance S ervicesInc            M AR S                                                Clients in matters


      Case: 19-30088            Doc# 8334-2        Filed:Schedule
                                                          07/08/202 - 13 Entered: 07/08/20 17:02:47              Page 14
                                                             of 55
#       Interested Party Name               Proposed Professionals Connection Name                        Connection Type
                                            M A R S IN CO R P O R A T ED                                  unrelated to the debtors
                                            M A R S H & M C L EN N A N CO M P A N IES ,IN C.
140     GE O il& Gas-N orth A m erica       BHGE                                                          Clients in matters
                                            CO N T A CT EN ER GY                                          unrelated to the debtors
                                            GECF
                                            GeneralElectricS team P ow erS ystem s
                                            IN N IO
141     GE R enew able Energy               BHGE                                                          Clients in matters
                                            CO N T A CT EN ER GY                                          unrelated to the debtors
                                            GECF
                                            GeneralElectricS team P ow erS ystem s
                                            IN N IO
142     Geico GeneralInsurance C om pany    A xaltaCoatingsS ystem sL L C                                     Clients in matters
                                            Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                            CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                            CS C HP ES M ergerM anagem ent
                                            DuP ontdeN em ours(France)S .A .S .
                                            Fruitofthe L oom ,Inc.
                                            M cL aneFoodserviceDistribution
                                            M ondelezBrasil
                                            M ondelezInternational,Inc.
                                            P ilotCorporation
                                            P ilotFlyingJ
                                            S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                            S .R .L .
                                            VisaEurope
143     Geico Indem nity Com pany           A xaltaCoatingsS ystem sL L C                                     Clients in matters
                                            Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                            CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                            CS C HP ES M ergerM anagem ent
                                            DuP ontdeN em ours(France)S .A .S .
                                            Fruitofthe L oom ,Inc.
                                            M cL aneFoodserviceDistribution
                                            M ondelezBrasil
                                            M ondelezInternational,Inc.
                                            P ilotCorporation
                                            P ilotFlyingJ
                                            S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                            S .R .L .
                                            VisaEurope
144     Gelco Corporation dbaGE Fleet       BHGE                                                          Clients in matters
        S ervices                           CO N T A CT EN ER GY                                          unrelated to the debtors
                                            GECF
                                            GeneralElectricS team P ow erS ystem s
                                            IN N IO
145     GeneraliU S Branch                  BancaFideuram                                                 Clients in matters
                                            BancaIT B S pa                                                unrelated to the debtors
                                            BA N CO A ZT EC A
                                            BZ W BK
                                            GR U P O P O P U L A R
146     GFIBrokersL L C                     BGC (A ustralia)P T Y L td.                                   Clients in matters
                                                                                                          unrelated to the debtors
147     GFIS ecuritiesL L C                 BGC (A ustralia)P T Y L td.                                   Clients in matters
                                                                                                          unrelated to the debtors




      Case: 19-30088          Doc# 8334-2      Filed:Schedule
                                                      07/08/202 - 14 Entered: 07/08/20 17:02:47                        Page 15
                                                         of 55
#       Interested Party Name                  Proposed Professionals Connection Name                                    Connection Type
148     Gibson,Dunn & CrutcherL L P            Gibson Dunn & CrutcherL L P (viaDaim lerA G)                              Clients in matters
                                                                                                                         unrelated to the debtors
149     GoldenT ree A ssetM anagem entL P      P T -O I                                                                  Clients in matters
                                                                                                                         unrelated to the debtors
150     Goldm an S achs& Co.L L C              A irbusS A S                                                              Clients in matters
                                               CJCorp                                                                    unrelated to the debtors
                                               CJL O GIS T ICS U S A CO R P O R A T IO N
                                               Goldm an S achsP IA
                                               Goldm anS achs/Genesis
                                               IHS M arkitL td.
                                               IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                               YorkBranch)
                                               KEC InternationalL im ited
                                               M A T R A DE
                                               P ingA n L ife Insurance Com pany ofChina,L td.
                                               P IN G A N P R O P ER T Y & C A S U A L T Y IN S U R A N CECO M P A N Y
                                               O FCHIN A ,L T D.
                                               S AN S
151     Goldm an S achsBankU S A               A irbusS A S                                                            Clients in matters
                                               CJCorp                                                                  unrelated to the debtors
                                               CJL O GIS T ICS U S A CO R P O R A T IO N
                                               Goldm an S achsP IA
                                               Goldm anS achs/Genesis
                                               IHS M arkitL td.
                                               IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                               YorkBranch)
                                               KEC InternationalL im ited
                                               M A T R A DE
                                               P ingA n L ife Insurance Com pany ofChina,L td.
                                               P IN G A N P R O P ER T Y & C A S U A L T Y IN S U R A N CECO M P A N Y
                                               O FCHIN A ,L T D.
                                               S AN S
152     GoogleInc                              Google (HongKong)L im ited                                                Clients in matters
                                               GO O GL E U K L IM IT ED                                                  unrelated to the debtors
                                               P O STI
153     Governm entEm ployeesInsurance         A xaltaCoatingsS ystem sL L C                                             Clients in matters
        Com pany                               Berkshire Hathaw ay Inc.                                                  unrelated to the debtors
                                               CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                               CS C HP ES M ergerM anagem ent
                                               DuP ontdeN em ours(France)S .A .S .
                                               Fruitofthe L oom ,Inc.
                                               M cL aneFoodserviceDistribution
                                               M ondelezBrasil
                                               M ondelezInternational,Inc.
                                               P ilotCorporation
                                               P ilotFlyingJ
                                               S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                               S .R .L .
                                               VisaEurope
154     Granite S tate Insurance Com pany      S T A T E O FP EN N S YL VA N IA                                          Clients in matters
                                                                                                                         unrelated to the debtors
155     GreatL akesInsurance S E              A pollo HospitalsEnterprise L im ited                                      Clients in matters
                                              Bancolom bia-Banistm o                                                     unrelated to the debtors
                                              R EL A
156     GreatW estL ifeand A nnuity Insurance CanadaL ife FinancialCorporation                                           Clients in matters


      Case: 19-30088         Doc# 8334-2          Filed:Schedule
                                                         07/08/202 - 15 Entered: 07/08/20 17:02:47                                  Page 16
                                                            of 55
#       Interested Party Name                  Proposed Professionals Connection Name               Connection Type
        Com pany                               Great-W estL ifeco Inc.                              unrelated to the debtors
157     Hallm arkS pecialty Insurance Com pany HN ICO R P                                           Clients in matters
                                                                                                    unrelated to the debtors
158     HarbertM anagem entCorp                EE                                                   Clients in matters
                                                                                                    unrelated to the debtors
159     Hartford A ccident& Indem nity         Hartford Insurance Group                             Clients in matters
        Com pany                                                                                    unrelated to the debtors
160     Hartford Casualty Insurance Com pany Hartford Insurance Group                               Clients in matters
                                                                                                    unrelated to the debtors
161     Hartford U nderw ritersInsurance       Hartford Insurance Group                             Clients in matters
        Com pany                                                                                    unrelated to the debtors
162     HBK M asterFund L P co HBK S ervices   GR U P O L A L A                                     Clients in matters
        LLC                                    GR U P O L A L A S .A .DE C.V.                       unrelated to the debtors
                                               N A S CA R
163     HDIGlobalInsurance Com pany            T alanx HDIVersicherung A G                          Clients in matters
                                                                                                    unrelated to the debtors
164     HDIGlobalS E                           T alanx HDIVersicherung A G                          Clients in matters
                                                                                                    unrelated to the debtors
165     HDIGlobalS pecialty S E                T alanx HDIVersicherung A G                          Clients in matters
                                                                                                    unrelated to the debtors
166     Honeyw ellInternationalInc             W estinghouse ElectricCorp.                          Clients in matters
                                                                                                    unrelated to the debtors
167     HS BC Bankplc                          IHS M arkitL td.                                     Clients in matters
                                               L i& Fung,GlobalBrands                               unrelated to the debtors
168     IberdrolaR enew ablesInc               N EW YO R K S T A T E                                Clients in matters
                                                                                                    unrelated to the debtors
169     Instrum ent& Valve S ervicesCom pany CO O P                                                 Clients in matters
                                                                                                    unrelated to the debtors
170     InternationalBusinessM achinesCorp DiligentCorporation                                      Clients in matters
                                            IBM W orld T rade Corporation                           unrelated to the debtors
                                            InternationalBusinessM achinesCorporation
                                            View pointe A rchive S ervices,L .L .C.
171     Interstate Fire & Casualty Com pany A irbusS A S                                            Clients in matters
                                            A llianzHrvatska                                        unrelated to the debtors
                                            A llianzItaly
                                            BayerCropS cience S .A .
                                            BayerCropS cience,Inc.
                                            BeiersdorfU S A
                                            BEP EN S A
                                            BM W Japan Corp.
                                            IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                            YorkBranch)
                                            L EM
                                            M AT R ADE
                                            W IN T ER S HA L L DEA GM BH
172     Ireland                                BA N K O FIR EL A N D                                 Clients in matters
                                               BA N K O FIR EL A N D GR O U P P L C                  unrelated to the debtors
                                               Ireland.Departm entofCom m unications,Clim ateA ction
                                               & Environm ent
173     JA ron & C om pany L L C               A irbusS A S                                          Clients in matters
                                               CJCorp                                                unrelated to the debtors
                                               CJL O GIS T ICS U S A CO R P O R A T IO N
                                               Goldm an S achsP IA
                                               Goldm anS achs/Genesis
                                               IHS M arkitL td.



      Case: 19-30088           Doc# 8334-2          Filed:Schedule
                                                           07/08/202 - 16 Entered: 07/08/20 17:02:47            Page 17
                                                              of 55
#       Interested Party Name                      Proposed Professionals Connection Name                                    Connection Type
                                                   IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                   YorkBranch)
                                                   KEC InternationalL im ited
                                                   M A T R A DE
                                                   P ingA n L ife Insurance Com pany ofChina,L td.
                                                   P IN G A N P R O P ER T Y & C A S U A L T Y IN S U R A N CECO M P A N Y
                                                   O FCHIN A ,L T D.
                                                   S AN S
174     John Crane Inc                             S M IT HS M EDICA L ,IN C.                                                Clients in matters
                                                                                                                             unrelated to the debtors
175     Johnson ControlsInc-CentralR egion         BR IN KS HO M E S EC U R IT Y HO L DIN GS ,IN C.                          Clients in matters
                                                                                                                             unrelated to the debtors
176     JP M organ ChaseBankN A                    A cerinox,S .A .                                                          Clients in matters
                                                   BA N CO A ZT EC A                                                         unrelated to the debtors
                                                   BeijingInternationalR esortCo.,L td.T hem eP arkand
                                                   R esortM anagem entBranch
                                                   BZ W BK
                                                   DEW A
                                                   Early W arningS ervices,L L C
                                                   EE
                                                   GR U P O P O P U L A R
                                                   HeliosExecutive Institute
                                                   IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                   YorkBranch)
                                                   N orth A m erican S tainless,Inc.
177     JP M organ S ecuritiesL L C                A cerinox,S .A .                                                          Clients in matters
                                                   BA N CO A ZT EC A                                                         unrelated to the debtors
                                                   BeijingInternationalR esortCo.,L td.T hem eP arkand
                                                   R esortM anagem entBranch
                                                   BZ W BK
                                                   DEW A
                                                   Early W arningS ervices,L L C
                                                   EE
                                                   GR U P O P O P U L A R
                                                   HeliosExecutive Institute
                                                   IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                   YorkBranch)
                                                   N orth A m erican S tainless,Inc.
178     JP M organVenturesEnergy                   A cerinox,S .A .                                                          Clients in matters
        Corporation                                BA N CO A ZT EC A                                                         unrelated to the debtors
                                                   BeijingInternationalR esortCo.,L td.T hem eP arkand
                                                   R esortM anagem entBranch
                                                   BZ W BK
                                                   DEW A
                                                   Early W arningS ervices,L L C
                                                   EE
                                                   GR U P O P O P U L A R
                                                   HeliosExecutive Institute
                                                   IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                   YorkBranch)
                                                   N orth A m erican S tainless,Inc.
179     KernR iverGasT ransm ission Com pany A xaltaCoatingsS ystem sL L C                                                   Clients in matters
                                             Berkshire Hathaw ay Inc.                                                        unrelated to the debtors
                                             CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                             CS C HP ES M ergerM anagem ent


      Case: 19-30088            Doc# 8334-2           Filed:Schedule
                                                             07/08/202 - 17 Entered: 07/08/20 17:02:47                                  Page 18
                                                                of 55
#       Interested Party Name                   Proposed Professionals Connection Name                                Connection Type
                                                DuP ontdeN em ours(France)S .A .S .
                                                Fruitofthe L oom ,Inc.
                                                M cL aneFoodserviceDistribution
                                                M ondelezBrasil
                                                M ondelezInternational,Inc.
                                                P ilotCorporation
                                                P ilotFlyingJ
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
180     Key Governm entFinanceInc               BIL                                                                   Clients in matters
                                                                                                                      unrelated to the debtors
181     Klondike W ind P ow erIIIL L C          N EW YO R K S T A T E                                                 Clients in matters
                                                                                                                      unrelated to the debtors
182     Knighthead CapitalM anagem entL L C M ercerInternationalInc.                                                  Clients in matters
        onbehalfofcertainfundsand A ccountsM ercerInternational,Inc.                                                  unrelated to the debtors
                                            P T -O I
183     L andm arkA m erican Insurance      A resM anagem entL L C                                                    Clients in matters
        Com pany                                                                                                      unrelated to the debtors
184     L eavitt'sFreightS ervice -Fresno       DA S EKE,IN C.                                                        Clients in matters
                                                                                                                      unrelated to the debtors
185     L eidosEngineeringL L C                 S cience A pplicationsInternationalCorporation                        Clients in matters
                                                                                                                      unrelated to the debtors
186     L exington Insurance C om pany          S T A T E O FP EN N S YL VA N IA                                      Clients in matters
                                                                                                                      unrelated to the debtors
187     L ife Insurance Com pany ofN orth       ExpressS cripts,Inc.                                                  Clients in matters
        A m erica                               O m adaHealth                                                         unrelated to the debtors
188     L oop                                   T ES O R O                                                            Clients in matters
                                                                                                                      unrelated to the debtors
189     L ord A bbett& Co L L C                 A U S N ET S ER VICES                                                 Clients in matters
                                                A U S N ET S ER VICES L T D                                           unrelated to the debtors
                                                CHA P A R R A L
                                                CHIN A N A T IO N A L O FFS HO R E O IL S HO R E O IL
                                                CO R P O R A T IO N (CN O O C)
                                                CN O O C P etroleum N orth A m ericaU L C
                                                CO O P
                                                FedEx/T N T Express
                                                M O R P HO S YS A G
                                                R EN -R ede ElectricaN acionalS A
190     L ouisBergerU S IN C                    EE                                                                    Clients in matters
                                                                                                                      unrelated to the debtors
191     M assM utualA ssetFinance L L C         S hellM idstream P artners,L .P .                                     Clients in matters
                                                                                                                      unrelated to the debtors
192     M assM utualL ife Insurance Com pany    M AS S M U T U AL                                                     Clients in matters
                                                M A S S A CHU S ET T S M U T U A L L IFEIN S U R A N CECO M P A N Y   unrelated to the debtors
                                                M AS S M U T U AL
                                                M A S S M U T U A L FIN A N CIA L GR O U P
                                                M A S S M U T U A L L IFE IN S U R A N C E CO M P A N Y
                                                M A S S M U T U A L L IFE IN S U R A N C E CO M P A N Y K.K.
                                                S hellM idstream P artners,L .P .
                                                T ES O R O
193     M axim Crane W orksL P                  BGC (A ustralia)P T Y L td.                                           Clients in matters
                                                                                                                      unrelated to the debtors
194     M cKinsey                               FinaltaHoldingsL td.                                                  Clients in matters
                                                                                                                      unrelated to the debtors



      Case: 19-30088              Doc# 8334-2         Filed:Schedule
                                                             07/08/202 - 18 Entered: 07/08/20 17:02:47                           Page 19
                                                                of 55
#       Interested Party Name                    Proposed Professionals Connection Name                        Connection Type
195     M earsGroup Inc                          T R IN IT Y IN DU S T R IES                                   Clients in matters
                                                                                                               unrelated to the debtors
196     M ercuriaCom m oditiesCanada             Ecopetrol-Hocol                                               Clients in matters
                                                                                                               unrelated to the debtors
197     M ercuriaEnerA m erInc                   Ecopetrol-Hocol                                               Clients in matters
                                                                                                               unrelated to the debtors
198     M errillL ynch Com m oditiesInc          BIL                                                           Clients in matters
                                                 Early W arningS ervices,L L C                                 unrelated to the debtors
199     M errillL ynch P ierce Fenner& S m ith   BIL                                                           Clients in matters
        Incorporated                             Early W arningS ervices,L L C                                 unrelated to the debtors
200     M esquite S olar1 L L C                  P acificEnterprises                                           Clients in matters
                                                 S outhern CaliforniaGasCom pany                               unrelated to the debtors
201     M etropolitan DirectP roperty A nd       M anulifeFinancialCorporation                                 Clients in matters
        Casualty Insurance Com pany                                                                            unrelated to the debtors
202     M etropolitan P roperty and Casualty     M anulifeFinancialCorporation                                 Clients in matters
        Insurance Com pany                                                                                     unrelated to the debtors
203     M idA m erican Energy                    A xaltaCoatingsS ystem sL L C                                     Clients in matters
                                                 Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                                 CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                 CS C HP ES M ergerM anagem ent
                                                 DuP ontdeN em ours(France)S .A .S .
                                                 Fruitofthe L oom ,Inc.
                                                 M cL aneFoodserviceDistribution
                                                 M ondelezBrasil
                                                 M ondelezInternational,Inc.
                                                 P ilotCorporation
                                                 P ilotFlyingJ
                                                 S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                 S .R .L .
                                                 VisaEurope
204     M ieco Inc                               GA VI                                                             Clients in matters
                                                                                                                   unrelated to the debtors
205     M itsubishiU FJS ecuritiesU S A IN C     U nion BankofJordan                                               Clients in matters
                                                                                                                   unrelated to the debtors
206     M organ S tanley BankN A                 A irbusS A S                                                      Clients in matters
                                                 IHS M arkitL td.                                                  unrelated to the debtors
                                                 M A T R A DE
207     M organ S tanley CapitalGroup Inc        A irbusS A S                                                      Clients in matters
                                                 IHS M arkitL td.                                                  unrelated to the debtors
                                                 M A T R A DE
208     M organ S tanley IS G O perations        A irbusS A S                                                      Clients in matters
                                                 IHS M arkitL td.                                                  unrelated to the debtors
                                                 M A T R A DE
209     M organ S tanley S eniorFunding          A irbusS A S                                                      Clients in matters
                                                 IHS M arkitL td.                                                  unrelated to the debtors
                                                 M A T R A DE
210     M S A m lin                              JX / M itsui                                                      Clients in matters
                                                                                                                   unrelated to the debtors
211     M S D CapitalL P                         M S D K.K.                                                        Clients in matters
                                                 R EL A                                                            unrelated to the debtors
212     M S D P artnersL P                       M S D K.K.                                                        Clients in matters
                                                 R EL A                                                            unrelated to the debtors
213     M U FG                                   U nion BankofJordan                                               Clients in matters
                                                                                                                   unrelated to the debtors




      Case: 19-30088              Doc# 8334-2       Filed:Schedule
                                                           07/08/202 - 19 Entered: 07/08/20 17:02:47                        Page 20
                                                              of 55
#       Interested Party Name                       Proposed Professionals Connection Name                        Connection Type
214     M U FG U nion BankN A                       U nion BankofJordan                                           Clients in matters
                                                                                                                  unrelated to the debtors
215     M unich R e                                 A pollo HospitalsEnterprise L im ited                         Clients in matters
                                                    Bancolom bia-Banistm o                                        unrelated to the debtors
                                                    R EL A
216     N ationalFire & M arine Insurance           A xaltaCoatingsS ystem sL L C                                     Clients in matters
        Com pany                                    Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                                    CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                    CS C HP ES M ergerM anagem ent
                                                    DuP ontdeN em ours(France)S .A .S .
                                                    Fruitofthe L oom ,Inc.
                                                    M cL aneFoodserviceDistribution
                                                    M ondelezBrasil
                                                    M ondelezInternational,Inc.
                                                    P ilotCorporation
                                                    P ilotFlyingJ
                                                    S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                    S .R .L .
                                                    VisaEurope
217     N ationalS urety Corporation                A irbusS A S                                                  Clients in matters
                                                    A llianzHrvatska                                              unrelated to the debtors
                                                    A llianzItaly
                                                    BayerCropS cience S .A .
                                                    BayerCropS cience,Inc.
                                                    BeiersdorfU S A
                                                    BEP EN S A
                                                    BM W Japan Corp.
                                                    IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                                    YorkBranch)
                                                    L EM
                                                    M AT R ADE
                                                    W IN T ER S HA L L DEA GM BH
218     N ationalU nion Fire InsuranceC om pany S T A T E O FP EN N S YL VA N IA                                  Clients in matters
        ofP ittsburgh P a                                                                                         unrelated to the debtors
219     N avigatorsM anagem entCom pany Inc Hartford Insurance Group                                              Clients in matters
        N ew York                                                                                                 unrelated to the debtors
220     N ew CingularW irelessP CS L L C            A T & T BusinessS olutions                                    Clients in matters
                                                    AT & T CO M M U N ICAT IO N S                                 unrelated to the debtors
                                                    A T & T Com m unicationsCom pany
                                                    InternationalBusinessM achinesCorporation
                                                    W arnerM edia,L L C
221     N ew CingularW irelessS ervices             A T & T BusinessS olutions                                    Clients in matters
                                                    AT & T CO M M U N ICAT IO N S                                 unrelated to the debtors
                                                    A T & T Com m unicationsCom pany
                                                    InternationalBusinessM achinesCorporation
                                                    W arnerM edia,L L C
222     N ew Ham pshire Insurance Com pany          S T A T E O FP EN N S YL VA N IA                              Clients in matters
                                                                                                                  unrelated to the debtors
223     N extelCom m unications                     Flex                                                          Clients in matters
                                                    Flex L td.                                                    unrelated to the debtors
                                                    L EM
                                                    O ravelS taysP rivateL td
                                                    S oftBankT elecom Corp.
                                                    S O FT BA N K-O YO
                                                    W M E/IM G


      Case: 19-30088            Doc# 8334-2            Filed:Schedule
                                                              07/08/202 - 20 Entered: 07/08/20 17:02:47                        Page 21
                                                                 of 55
#       Interested Party Name                   Proposed Professionals Connection Name                              Connection Type
224     N extelofCaliforniaIncaDelaw are        Flex                                                                Clients in matters
        Corp                                    Flex L td.                                                          unrelated to the debtors
                                                L EM
                                                O ravelS taysP rivateL td
                                                S oftBankT elecom Corp.
                                                S O FT BA N K-O YO
                                                W M E/IM G
225     N oble A m ericasCorporation            VA R O EN ER GY B.V.                                                Clients in matters
                                                                                                                    unrelated to the debtors
226     N oble A m ericasGas& P ow erCorp       Ecopetrol-Hocol                                                     Clients in matters
                                                                                                                    unrelated to the debtors
227     N oresco L L C                          A ndrew sDistributing                                               Clients in matters
                                                A ndrew sDistributingCom pany                                       unrelated to the debtors
                                                CS C HP ES M ergerM anagem ent
                                                O tisElevatorCom pany P ty.L td.
                                                U nited T echnologiesCorporation
                                                U T C ¿ O tis
228     N orth A m erican S pecialty Insurance  S w issR e A ssetM anagem ent                                       Clients in matters
        Com pany                                S w issR e L td                                                     unrelated to the debtors
                                                Youse C olom bia
229     N O V FluidControladivision ofN ational M S D K.K.                                                          Clients in matters
        O ilw ellVarco L P                                                                                          unrelated to the debtors
230     N uance Com m unications,Inc.           N U A N CE                                                          Clients in matters
                                                                                                                    unrelated to the debtors
231     N V Energy                              A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                                Berkshire Hathaw ay Inc.                                            unrelated to the debtors
                                                CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                CS C HP ES M ergerM anagem ent
                                                DuP ontdeN em ours(France)S .A .S .
                                                Fruitofthe L oom ,Inc.
                                                M cL aneFoodserviceDistribution
                                                M ondelezBrasil
                                                M ondelezInternational,Inc.
                                                P ilotCorporation
                                                P ilotFlyingJ
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
232     O akHillA dvisors,L .P .                CO O P                                                              Clients in matters
                                                                                                                    unrelated to the debtors
233     O ch-ZiffCapitalM anagem entGroup       CO O P                                                              Clients in matters
        LLC                                     GlaxoS m ithKline K.K.                                              unrelated to the debtors
                                                GlaxoS m ithKline Vaccines
                                                HA N A FIN A N CIA L GR O U P IN C.
234     O DO R -T ECH L L C                     A finiti                                                            Clients in matters
                                                A FIN IT IL T D.                                                    unrelated to the debtors
                                                A rkem aFrance S A
235     O ilCasualty Insurance L im ited        P HR M A                                                            Clients in matters
                                                                                                                    unrelated to the debtors
236     O racle A m ericaInc                    L IVEL O S .A .                                                     Clients in matters
                                                N ET S A /S                                                         unrelated to the debtors
237     O racle Corporation                     L IVEL O S .A .                                                     Clients in matters
                                                N ET S A /S                                                         unrelated to the debtors
238     O tisElevatorCom pany                   A ndrew sDistributing                                               Clients in matters
                                                A ndrew sDistributingCom pany                                       unrelated to the debtors



      Case: 19-30088           Doc# 8334-2         Filed:Schedule
                                                          07/08/202 - 21 Entered: 07/08/20 17:02:47                            Page 22
                                                             of 55
#       Interested Party Name                 Proposed Professionals Connection Name                              Connection Type
                                              CS C HP ES M ergerM anagem ent
                                              O tisElevatorCom pany P ty.L td.
                                              U nited T echnologiesCorporation
                                              U T C ¿ O tis
239     O w lCreekA ssetM anagem entL P on    CO O P                                                              Clients in matters
        behalfofcertainfundsandaccounts                                                                           unrelated to the debtors
240     P ace EngineeringInc                  T R IN IT Y IN DU S T R IES                                         Clients in matters
                                                                                                                  unrelated to the debtors
241     P acificBellT elephone C om pany      A T & T BusinessS olutions                                          Clients in matters
                                              AT & T CO M M U N ICAT IO N S                                       unrelated to the debtors
                                              A T & T Com m unicationsCom pany
                                              InternationalBusinessM achinesCorporation
                                              W arnerM edia,L L C
242     P acificInvestm entM anagem ent       A irbusS A S                                                        Clients in matters
        Com pany L L C                        A llianzHrvatska                                                    unrelated to the debtors
                                              A llianzItaly
                                              BayerCropS cience S .A .
                                              BayerCropS cience,Inc.
                                              BeiersdorfU S A
                                              BEP EN S A
                                              BM W Japan Corp.
                                              IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                              YorkBranch)
                                              L EM
                                              M AT R ADE
                                              W IN T ER S HA L L DEA GM BH
243     P acificS um m itEnergy L L C         T -GaiaCorporation                                                  Clients in matters
                                                                                                                  unrelated to the debtors
244     P acificorp                           A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                              Berkshire Hathaw ay Inc.                                            unrelated to the debtors
                                              CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                              CS C HP ES M ergerM anagem ent
                                              DuP ontdeN em ours(France)S .A .S .
                                              Fruitofthe L oom ,Inc.
                                              M cL aneFoodserviceDistribution
                                              M ondelezBrasil
                                              M ondelezInternational,Inc.
                                              P ilotCorporation
                                              P ilotFlyingJ
                                              S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                              S .R .L .
                                              VisaEurope
245     P A R ElectricalContractorsInc        T R IN IT Y IN DU S T R IES                                         Clients in matters
                                                                                                                  unrelated to the debtors
246     P aulson & Co Incon behalfofcertain   A ngloGoldA shanti-W ithdraw n Engagem ent                          Clients in matters
        fundsand accounts                     Bausch Health A m ericas,Inc.                                       unrelated to the debtors
                                              bsicorporate holdings
                                              CIT Bank
                                              CIT Group Inc.(CIT )
                                              DuP ontdeN em ours(France)S .A .S .
                                              GU IDEW EL L
                                              GuideW ell,Inc.
247     P entw aterCapitalM anagem entL P on N A S CA R                                                           Clients in matters
        behalfofcertain fundsand accounts                                                                         unrelated to the debtors
248     P ep Boys                            Coffeyville R esourcesInc.                                           Clients in matters


      Case: 19-30088            Doc# 8334-2      Filed:Schedule
                                                        07/08/202 - 22 Entered: 07/08/20 17:02:47                            Page 23
                                                           of 55
#       Interested Party Name                     Proposed Professionals Connection Name                  Connection Type
                                                  CVR Energy,Inc.                                         unrelated to the debtors
                                                  Icahn Enterprises/CVR Energy
249     P itney Bow esGlobalFinancialS ervices CO O P                                                     Clients in matters
        LLC                                                                                               unrelated to the debtors
250     P otelco Inc                              T R IN IT Y IN DU S T R IES                             Clients in matters
                                                                                                          unrelated to the debtors
251     P ow erO ne L L C                         A BB A S EA BR O W N BO VER IL T D                      Clients in matters
                                                  TN B                                                    unrelated to the debtors
252     P roactS ervicesCorporation               EW T                                                    Clients in matters
                                                                                                          unrelated to the debtors
253     P roperty and Casualty Insurance          Hartford Insurance Group                                Clients in matters
        Com pany ofHartford                                                                               unrelated to the debtors
254     P ublicEm ployeesR etirem ent             S tate ofN ew M exico Hum an S ervicesDivision          Clients in matters
        A ssociation ofN ew M exico                                                                       unrelated to the debtors
255     Q uantaEnergy S ervicesL L C              T R IN IT Y IN DU S T R IES                             Clients in matters
                                                                                                          unrelated to the debtors
256     Q uantaT echnology                        T R IN IT Y IN DU S T R IES                             Clients in matters
                                                                                                          unrelated to the debtors
257     Q uantaU tility EngineeringS ervices      T R IN IT Y IN DU S T R IES                             Clients in matters
                                                                                                          unrelated to the debtors
258     Q uestDiagnosticsHealth & W ellness       P atientsLikeM e Inc./ S om aL ogic                     Clients in matters
        LLC                                                                                               unrelated to the debtors
259     R BC CapitalM arkets                      R O YA L BA N K FIN A N CIA L GR O U P                  Clients in matters
                                                                                                          unrelated to the debtors
260     R E KansasL L C                           Groupe L ouisDreyfus                                    Clients in matters
                                                                                                          unrelated to the debtors
261     R E KentS outh L L C                      Groupe L ouisDreyfus                                    Clients in matters
                                                                                                          unrelated to the debtors
262     R E O ld R iverO ne L L C                 S O L A R BR                                            Clients in matters
                                                                                                          unrelated to the debtors
263     R ecurrentEnergy                          S O L A R BR                                            Clients in matters
                                                                                                          unrelated to the debtors
264     R edw ood CapitalM anagem entL L C on M ercerInternationalInc.                                    Clients in matters
        behalfofcertain fundsand accounts M ercerInternational,Inc.                                       unrelated to the debtors
                                              P T -O I
265     R iverstone                           HES                                                         Clients in matters
                                                                                                          unrelated to the debtors
266     R oyalBankofCanada                        R O YA L BA N K FIN A N CIA L GR O U P                  Clients in matters
                                                                                                          unrelated to the debtors
267     R oyalBankofS cotland                     T HE R O YA L BA N K O FS CO T L A N D GR O U P P L C   Clients in matters
                                                                                                          unrelated to the debtors
268     R oyalBankofS cotland P L C               T HE R O YA L BA N K O FS CO T L A N D GR O U P P L C   Clients in matters
                                                                                                          unrelated to the debtors
269     R S U IGroup Inc                          A resM anagem entL L C                                  Clients in matters
                                                                                                          unrelated to the debtors
270     R S U IIndem nity Com pany                A resM anagem entL L C                                  Clients in matters
                                                                                                          unrelated to the debtors
271     R uby P ipeline,L L C                     KIN D L L C                                             Clients in matters
                                                                                                          unrelated to the debtors
272     R usselectricInc                          DBS                                                     Clients in matters
                                                                                                          unrelated to the debtors
273     S achem Head CapitalM anagem entL P       ZoetisL L C                                             Clients in matters
                                                                                                          unrelated to the debtors
274     S aintFrancisM em orialHospital           CenturaHealth Corporation                               Clients in matters
                                                                                                          unrelated to the debtors
275     S an Diego Gas& ElectricCom pany          P acificEnterprises                                     Clients in matters



      Case: 19-30088                Doc# 8334-2      Filed:Schedule
                                                            07/08/202 - 23 Entered: 07/08/20 17:02:47                Page 24
                                                               of 55
#       Interested Party Name                   Proposed Professionals Connection Name            Connection Type
                                                S outhern CaliforniaGasCom pany                   unrelated to the debtors
276     S chneiderElectricS ystem sU S A Inc    EfficientEnergy                                   Clients in matters
                                                                                                  unrelated to the debtors
277     S chneiderElectricU S A                 EfficientEnergy                                   Clients in matters
                                                                                                  unrelated to the debtors
278     S eattle City L ight                    S EA T                                            Clients in matters
                                                S EA T ,S .A .                                    unrelated to the debtors
279     S electEnergy S ervice L L C            W TT                                              Clients in matters
                                                                                                  unrelated to the debtors
280     S em praEnergy                          P acificEnterprises                               Clients in matters
                                                S outhern CaliforniaGasCom pany                   unrelated to the debtors
281     S em praGasand P ow erM arketingL L C   P acificEnterprises                               Clients in matters
                                                S outhern CaliforniaGasCom pany                   unrelated to the debtors
282     S em praU S Gas& P ow er                P acificEnterprises                               Clients in matters
                                                S outhern CaliforniaGasCom pany                   unrelated to the debtors
283     S enatorInvestm entGroup L P            IDO R S IA L T D.                                 Clients in matters
                                                IDO R S IA P HA R M A C EU T ICA L S L T D        unrelated to the debtors
284     S erengetiA ssetM anagem entL P         CO O P                                            Clients in matters
                                                                                                  unrelated to the debtors
285     S hellEnergy CA N                       ER M                                              Clients in matters
                                                Jiffy L ube International,Inc.                    unrelated to the debtors
                                                P ET R ÓL EO S M EX ICA N O S
                                                S hellChem icalsEurope B.V.
                                                S hellInternationalP etroleum Com panyL im ited
                                                S hellM idstream P artners,L .P .
                                                T he S hellP etroleum Com pany L im ited
286     S hellEnergy N orth A m ericaL P        ER M                                              Clients in matters
                                                Jiffy L ube International,Inc.                    unrelated to the debtors
                                                P ET R ÓL EO S M EX ICA N O S
                                                S hellChem icalsEurope B.V.
                                                S hellInternationalP etroleum Com panyL im ited
                                                S hellM idstream P artners,L .P .
                                                T he S hellP etroleum Com pany L im ited
287     S hellT radingCom pany                  ER M                                              Clients in matters
                                                Jiffy L ube International,Inc.                    unrelated to the debtors
                                                P ET R ÓL EO S M EX ICA N O S
                                                S hellChem icalsEurope B.V.
                                                S hellInternationalP etroleum Com panyL im ited
                                                S hellM idstream P artners,L .P .
                                                T he S hellP etroleum Com pany L im ited
288     S hellW estern E & P                    ER M                                              Clients in matters
                                                Jiffy L ube International,Inc.                    unrelated to the debtors
                                                P ET R ÓL EO S M EX ICA N O S
                                                S hellChem icalsEurope B.V.
                                                S hellInternationalP etroleum Com panyL im ited
                                                S hellM idstream P artners,L .P .
                                                T he S hellP etroleum Com pany L im ited
289     S hiloh IW ind P rojectL L C            N EW YO R K S T A T E                             Clients in matters
                                                                                                  unrelated to the debtors
290     S iem ensEnergy IncFossilS ervices      DBS                                               Clients in matters
        P ow erGeneration                                                                         unrelated to the debtors
291     S iem ensIndustry Inc                   DBS                                               Clients in matters
                                                                                                  unrelated to the debtors
292     S ilverP ointCapitalL P                 CHA P A R R A L                                   Clients in matters
                                                CO O P                                            unrelated to the debtors



      Case: 19-30088              Doc# 8334-2      Filed:Schedule
                                                          07/08/202 - 24 Entered: 07/08/20 17:02:47          Page 25
                                                             of 55
#       Interested Party Name                  Proposed Professionals Connection Name               Connection Type
293     S im plexGrinnell                      BR IN KS HO M E S EC U R IT Y HO L DIN GS ,IN C.     Clients in matters
                                                                                                    unrelated to the debtors
294     S olarT urbinesIncorporated            C& A                                                 Clients in matters
                                               FIN N IN G                                           unrelated to the debtors
295     S outhern CaliforniaGasCom pany        P acificEnterprises                                  Clients in matters
                                               S outhern CaliforniaGasCom pany                      unrelated to the debtors
296     S outhw estern BellT elephone L P      A T & T BusinessS olutions                           Clients in matters
                                               AT & T CO M M U N ICAT IO N S                        unrelated to the debtors
                                               A T & T Com m unicationsCom pany
                                               InternationalBusinessM achinesCorporation
                                               W arnerM edia,L L C
297     S pectraEnergy P artnersL P            EE                                                   Clients in matters
                                                                                                    unrelated to the debtors
298     S print                               Flex                                                  Clients in matters
                                              Flex L td.                                            unrelated to the debtors
                                              L EM
                                              O ravelS taysP rivateL td
                                              S oftBankT elecom Corp.
                                              S O FT BA N K-O YO
                                              W M E/IM G
299     S tJoseph'sM edicalCenterO fS tockton CenturaHealth Corporation                             Clients in matters
                                                                                                    unrelated to the debtors
300     S tarInsurance Com pany                GA IL                                                Clients in matters
                                                                                                    unrelated to the debtors
301     S tarw ood Energy Group GlobalL L C    S AN S                                               Clients in matters
                                                                                                    unrelated to the debtors
302     S torage T echnology Corp              L IVEL O S .A .                                      Clients in matters
                                               N ET S A /S                                          unrelated to the debtors
303     S U EZ W T S U S A Inc                 CA IS S E DE DEP O T ET P L A CEM EN T DU Q U EBEC   Clients in matters
                                               CA IS S E DE DÉP ÔT ET P L A CEM EN T DU Q U ÉBEC    unrelated to the debtors
                                               S U EZ N orth A m ericaInc.
304     S um m itL ine Construction Inc        T R IN IT Y IN DU S T R IES                          Clients in matters
                                                                                                    unrelated to the debtors
305     S unshine GasP roducersL L C           ER M                                                 Clients in matters
                                               Jiffy L ube International,Inc.                       unrelated to the debtors
                                               P ET R ÓL EO S M EX ICA N O S
                                               S hellChem icalsEurope B.V.
                                               S hellInternationalP etroleum Com panyL im ited
                                               S hellM idstream P artners,L .P .
                                               T he S hellP etroleum Com pany L im ited
306     S w issR e InternationalS E            S w issR e A ssetM anagem ent                        Clients in matters
                                               S w issR e L td                                      unrelated to the debtors
                                               Youse C olom bia
307     T R ow e P rice A ssociatesInc         A IR BN B,IN C.                                      Clients in matters
                                               DO M O                                               unrelated to the debtors
                                               S AN S
308     T A T A A m ericaInternationalCorp     DiligentCorporation                                  Clients in matters
                                               T ataA IA L ife Insurance C om pany L im ited        unrelated to the debtors
                                               T ataCom m unicationsL im ited
                                               T IT A N
309     T ataConsultancy S ervices             DiligentCorporation                                  Clients in matters
                                               T ataA IA L ife Insurance C om pany L im ited        unrelated to the debtors
                                               T ataCom m unicationsL im ited
                                               T IT A N




      Case: 19-30088             Doc# 8334-2      Filed:Schedule
                                                         07/08/202 - 25 Entered: 07/08/20 17:02:47             Page 26
                                                            of 55
#       Interested Party Name                       Proposed Professionals Connection Name                         Connection Type
310     T D BankN A                                 T D BankU S HoldingCom pany                                    Clients in matters
                                                                                                                   unrelated to the debtors
311     T d Energy T radingInc                      T D BankU S HoldingCom pany                                    Clients in matters
                                                                                                                   unrelated to the debtors
312     T D S ecurities                             T D BankU S HoldingCom pany                                    Clients in matters
                                                                                                                   unrelated to the debtors
313     T elventU S A L L C                         EfficientEnergy                                                Clients in matters
                                                                                                                   unrelated to the debtors
314     T esoro R efining& M arketingCom pany T ES O R O                                                           Clients in matters
        LLC                                                                                                        unrelated to the debtors
315     T he BaupostGroup L L C                Colony Capital                                                          Clients in matters
                                               ColonyCapital,Inc.                                                      unrelated to the debtors
                                               VIR GIN M EDIA IN C.
316     T he Goldm an S achsGroup,Inc.         A irbusS A S                                                            Clients in matters
                                               CJCorp                                                                  unrelated to the debtors
                                               CJL O GIS T ICS U S A CO R P O R A T IO N
                                               Goldm an S achsP IA
                                               Goldm anS achs/Genesis
                                               IHS M arkitL td.
                                               IndustrialA ndCom m ercialBankofChinaL im ited(N ew
                                               YorkBranch)
                                               KEC InternationalL im ited
                                               M A T R A DE
                                               P ingA n L ife Insurance Com pany ofChina,L td.
                                               P IN G A N P R O P ER T Y & C A S U A L T Y IN S U R A N CECO M P A N Y
                                               O FCHIN A ,L T D.
                                               S AN S
317     T he Insurance Com pany oftheS tate of S T A T E O FP EN N S YL VA N IA                                        Clients in matters
        P ennsylvania                                                                                                  unrelated to the debtors
318     T he KaiserFam ily T rust              HEN R Y CO M P A N Y                                                    Clients in matters
                                                                                                                       unrelated to the debtors
319     T he M osaicCom pany                   CargillA griculturalS upply Chain (CA S C)                              Clients in matters
                                               CargillCA S C S A                                                       unrelated to the debtors
                                               CargillM alts
320     T he N orth R iverInsurance            A GT                                                                    Clients in matters
                                               A lFuttaim Group (A FG)                                                 unrelated to the debtors
321     T he N orthfield Insurance Com pany      DX C                                                              Clients in matters
                                                 P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                                 T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
322     T he P rinceton Excessand S urplusL ines A pollo HospitalsEnterprise L im ited                             Clients in matters
        Insurance Com pany                       Bancolom bia-Banistm o                                            unrelated to the debtors
                                                 R EL A
323     T he S tandard Fire Insurance Com pany DX C                                                                Clients in matters
                                                 P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                                 T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
324     T he T ravelersHom e and M arine         DX C                                                              Clients in matters
        Insurance Com pany                       P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                                 T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
325     T he T ravelersIndem nity Com pany       DX C                                                              Clients in matters
                                                 P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                                 T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
326     T he T ravelersIndem nity Com pany of DX C                                                                 Clients in matters
        A m erica                                P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                                 T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
327     T he Vanguard Group Inc                  A bbottHealthcare P roductsB.V.                                   Clients in matters


      Case: 19-30088            Doc# 8334-2             Filed:Schedule
                                                               07/08/202 - 26 Entered: 07/08/20 17:02:47                        Page 27
                                                                  of 55
#       Interested Party Name              Proposed Professionals Connection Name                        Connection Type
                                           A bbVie L td                                                  unrelated to the debtors
                                           Å FA B
                                           A FL A C
                                           A flacIncorporated
                                           A lere
                                           A m ericanEquityInvestm entL ifeHoldingCom pany
                                           CI:Z HO L DIN GS
                                           CO M EX I
                                           CO O P
                                           Covetrus
                                           CS C HP ES M ergerM anagem ent
                                           DIC CO R P O R A T IO N
                                           DX C
                                           DX C T ECHN O L O GY CO M P A N Y
                                           E*T R A DE FinancialCorporation
                                           EE
                                           EN T EL
                                           EQ U IAN
                                           FL IR S ystem sInc.
                                           FL IR S ystem s,Inc.
                                           GS O CA P IT A L P A R T N ER S L P
                                           Intuit,Inc.
                                           J& J
                                           J& JDeP uy S ynthes
                                           J& J
                                           J.C.P enney Corporation,Inc.
                                           JA N S S EN BEN EL U X
                                           Johnson & Johnson Brazil
                                           Johnson & Johnson Vistakon Japan
                                           JO S T EN S ,IN C.
                                           M A 'A DEN
                                           N ike European O perationsN etherlandsB.V.
                                           O w ens& M inor,Inc.
                                           P HA R M A IN T ER N A T IO N A L CO M P A N Y
                                           P HIL IP M O R R IS P R O DU C T S S .A .
                                           PM U
                                           P T -O I
                                           S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                           S .R .L .
                                           T CFBA N K
                                           T -GaiaCorporation
                                           T HE CFS GR O U P
                                           T HE CHEM O U R S CO M P A N Y
                                           Valarisplc
                                           VA N GU A R D A S S ET M A N A GEM EN T ,L IM IT ED
                                           W oolw orthsGroup L im ited
                                           ZoetisL L C
328     T hird P ointL L C                 A rnott'sBiscuitsL im ited                                        Clients in matters
                                           BA X A L T A GM BH                                                unrelated to the debtors
                                           BEP EN S A
                                           Cam pbells
                                           DuP ontdeN em ours(France)S .A .S .
                                           EssilorInternationalS A S
                                           P ayP al,Inc.
329     T KO P ow er                       EN EL Endesa                                                      Clients in matters


      Case: 19-30088         Doc# 8334-2      Filed:Schedule
                                                     07/08/202 - 27 Entered: 07/08/20 17:02:47                        Page 28
                                                        of 55
#       Interested Party Name                     Proposed Professionals Connection Name                      Connection Type
                                                  Enel-Endesa                                                 unrelated to the debtors
                                                  EN T EL
330     T opaz S olarFarm sL L C               A xaltaCoatingsS ystem sL L C                                     Clients in matters
                                               Berkshire Hathaw ay Inc.                                          unrelated to the debtors
                                               CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                               CS C HP ES M ergerM anagem ent
                                               DuP ontdeN em ours(France)S .A .S .
                                               Fruitofthe L oom ,Inc.
                                               M cL aneFoodserviceDistribution
                                               M ondelezBrasil
                                               M ondelezInternational,Inc.
                                               P ilotCorporation
                                               P ilotFlyingJ
                                               S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                               S .R .L .
                                               VisaEurope
331     T oronto Dom inion Bank                T D BankU S HoldingCom pany                                       Clients in matters
                                                                                                                 unrelated to the debtors
332     T P G S ixth S treetP artnersL L C     AP M M                                                            Clients in matters
                                               G30                                                               unrelated to the debtors
                                               HongKongS ailingCapitalHoldingCom panyL im ited
                                               J.Crew Group,Inc.
                                               KIN D L L C
                                               N A S CA R
                                               S A IL IFES CIEN C ES
                                               S ailingcapital
                                               T EX A S P A CIFIC GR O U P
333     T ransAltaCorporation                  T ransAltaCorporation                                             Clients in matters
                                                                                                                 unrelated to the debtors
334     T ransAltaEnergy M arketingInc         T ransAltaCorporation                                             Clients in matters
                                                                                                                 unrelated to the debtors
335     T ransCanadaFoothillsP ipe L ines      CO O P                                                            Clients in matters
                                                                                                                 unrelated to the debtors
336     T ravelersCasualty Insurance C om pany DX C                                                              Clients in matters
        ofA m erica                            P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
337     T ravelersCom m ercialInsurance        DX C                                                              Clients in matters
        Com pany                               P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
338     T ravelersIndem nity Com pany of       DX C                                                              Clients in matters
        Connecticut                            P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
339     T ravelersInsurance Com pany of        DX C                                                              Clients in matters
        A m erica                              P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
340     T ravelersP roperty Casualty Com pany DX C                                                               Clients in matters
        ofA m erica                            P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
341     T ravelersP roperty Casualty Insurance DX C                                                              Clients in matters
        Com pany                               P hoenix Insurance Com pany L im ited                             unrelated to the debtors
                                               T R A VEL ER S IN S U R A N CE GR O U P HO L DIN GS IN C.
342     T rum bullInsurance Com pany           Hartford Insurance Group                                          Clients in matters
                                                                                                                 unrelated to the debtors
343     T udorInsurance Com pany               S T A T E O FP EN N S YL VA N IA                                  Clients in matters
                                                                                                                 unrelated to the debtors



      Case: 19-30088           Doc# 8334-2           Filed:Schedule
                                                            07/08/202 - 28 Entered: 07/08/20 17:02:47                      Page 29
                                                               of 55
#       Interested Party Name                       Proposed Professionals Connection Name                          Connection Type
344     T w in City Fire Insurance Com pany         Hartford Insurance Group                                        Clients in matters
                                                                                                                    unrelated to the debtors
345     T yco Integrated S ecurity L L C            BR IN KS HO M E S EC U R IT Y HO L DIN GS ,IN C.                Clients in matters
                                                                                                                    unrelated to the debtors
346     U biquitelL L C                             Flex                                                            Clients in matters
                                                    Flex L td.                                                      unrelated to the debtors
                                                    L EM
                                                    O ravelS taysP rivateL td
                                                    S oftBankT elecom Corp.
                                                    S O FT BA N K-O YO
                                                    W M E/IM G
347     U BS A G                                    BA N CO BHD L EÓN                                               Clients in matters
                                                    U BS                                                            unrelated to the debtors
                                                    U BS FinancialS ervices
348     U BS Investm entBank                        BA N CO BHD L EÓN                                               Clients in matters
                                                    U BS                                                            unrelated to the debtors
                                                    U BS FinancialS ervices
349     U BS S ecurities                            BA N CO BHD L EÓN                                               Clients in matters
                                                    U BS                                                            unrelated to the debtors
                                                    U BS FinancialS ervices
350     U CS F                                      U niversity ofCalifornia,S an Francisco                         Clients in matters
                                                                                                                    unrelated to the debtors
351     U nderground Construction Co Inc            T R IN IT Y IN DU S T R IES                                     Clients in matters
                                                                                                                    unrelated to the debtors
352     U nion BankofCalifornia                     U nion BankofJordan                                             Clients in matters
                                                                                                                    unrelated to the debtors
353     U nited Fire & Casualty Com pany            T HE U N IT ED FIR E GR O U P                                   Clients in matters
                                                                                                                    unrelated to the debtors
354     U nited S tatesA ircraftInsurance Group A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                                Berkshire Hathaw ay Inc.                                            unrelated to the debtors
                                                CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                CS C HP ES M ergerM anagem ent
                                                DuP ontdeN em ours(France)S .A .S .
                                                Fruitofthe L oom ,Inc.
                                                M cL aneFoodserviceDistribution
                                                M ondelezBrasil
                                                M ondelezInternational,Inc.
                                                P ilotCorporation
                                                P ilotFlyingJ
                                                S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                                S .R .L .
                                                VisaEurope
355     U nited S tatesFire Insurance Com pany A GT                                                                 Clients in matters
        dbaCrum & Forster                      A lFuttaim Group (A FG)                                              unrelated to the debtors
356     U nited S tatesL iability Insurance         A xaltaCoatingsS ystem sL L C                                   Clients in matters
        Com pany                                    Berkshire Hathaw ay Inc.                                        unrelated to the debtors
                                                    CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                                    CS C HP ES M ergerM anagem ent
                                                    DuP ontdeN em ours(France)S .A .S .
                                                    Fruitofthe L oom ,Inc.
                                                    M cL aneFoodserviceDistribution
                                                    M ondelezBrasil
                                                    M ondelezInternational,Inc.
                                                    P ilotCorporation
                                                    P ilotFlyingJ



      Case: 19-30088            Doc# 8334-2            Filed:Schedule
                                                              07/08/202 - 29 Entered: 07/08/20 17:02:47                        Page 30
                                                                 of 55
#       Interested Party Name                  Proposed Professionals Connection Name                              Connection Type
                                               S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                               S .R .L .
                                               VisaEurope
357     U nivarU S A Inc                       U nivarS olutionsInc.                                               Clients in matters
                                                                                                                   unrelated to the debtors
358     U S A viation Insurance Group          A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                               Berkshire Hathaw ay Inc.                                            unrelated to the debtors
                                               CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                               CS C HP ES M ergerM anagem ent
                                               DuP ontdeN em ours(France)S .A .S .
                                               Fruitofthe L oom ,Inc.
                                               M cL aneFoodserviceDistribution
                                               M ondelezBrasil
                                               M ondelezInternational,Inc.
                                               P ilotCorporation
                                               P ilotFlyingJ
                                               S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                               S .R .L .
                                               VisaEurope
359     U S BankN A                            VisaEurope                                                          Clients in matters
                                                                                                                   unrelated to the debtors
360     U S BankN A GlobalCorporate T rust     VisaEurope                                                          Clients in matters
        S ervices                                                                                                  unrelated to the debtors
361     U S BankN ationalA ssociation          VisaEurope                                                          Clients in matters
                                                                                                                   unrelated to the debtors
362     U T EC C onstructorsCorporation        N U VIGR O U P                                                      Clients in matters
                                                                                                                   unrelated to the debtors
363     Valero R efiningCom pany               VL                                                                  Clients in matters
                                                                                                                   unrelated to the debtors
364     Valero R efiningCom pany -California   VL                                                                  Clients in matters
                                                                                                                   unrelated to the debtors
365     ValidusR einsurance L im ited          S T A T E O FP EN N S YL VA N IA                                    Clients in matters
                                                                                                                   unrelated to the debtors
366     Valley P ow erS ystem sN orth          A ston M artin Japan                                                Clients in matters
                                               Daim lerT ruckA G                                                   unrelated to the debtors
                                               M ercedes-Benz A G
                                               M ercedes-Benz L easingGm bH
                                               P roterraInc.
367     Varde P artnersInc                     CO O P                                                              Clients in matters
                                                                                                                   unrelated to the debtors
368     Verizon                                CEL L C                                                             Clients in matters
                                               CEL L C L IM IT ED                                                  unrelated to the debtors
                                               VER IZO N CO M M U N ICA T IO N S IN C.
369     Verizon BusinessN etw orkS ervices     CEL L C                                                             Clients in matters
                                               CEL L C L IM IT ED                                                  unrelated to the debtors
                                               VER IZO N CO M M U N ICA T IO N S IN C.
370     Verizon N etw orkO perations           CEL L C                                                             Clients in matters
                                               CEL L C L IM IT ED                                                  unrelated to the debtors
                                               VER IZO N CO M M U N ICA T IO N S IN C.
371     VitolInc                               VA R O EN ER GY B.V.                                                Clients in matters
                                                                                                                   unrelated to the debtors
372     VogtP ow erInternationalInc            BA BCO CK                                                           Clients in matters
                                               BabcockCM S                                                         unrelated to the debtors
373     Vulcan P ow erCom pany                 A xaltaCoatingsS ystem sL L C                                       Clients in matters
                                               Berkshire Hathaw ay Inc.                                            unrelated to the debtors



      Case: 19-30088          Doc# 8334-2           Filed:Schedule
                                                           07/08/202 - 30 Entered: 07/08/20 17:02:47                          Page 31
                                                              of 55
#       Interested Party Name                  Proposed Professionals Connection Name                              Connection Type
                                               CHA M BER L A IN M A N U FA CT U R IN G CO R P O R A T IO N
                                               CS C HP ES M ergerM anagem ent
                                               DuP ontdeN em ours(France)S .A .S .
                                               Fruitofthe L oom ,Inc.
                                               M cL aneFoodserviceDistribution
                                               M ondelezBrasil
                                               M ondelezInternational,Inc.
                                               P ilotCorporation
                                               P ilotFlyingJ
                                               S ER VICIO S YP R O DU CT O S P A R A BEBIDA S R EFR ES CA N T ES
                                               S .R .L .
                                               VisaEurope
374     W achoviaCorporate S ervicesInc        W ealth Enhancem entGroup,L L C                                     Clients in matters
                                                                                                                   unrelated to the debtors
375     W artsilaN orth A m ericaInc           W ärtsiläFinland O y                                                Clients in matters
                                                                                                                   unrelated to the debtors
376     W ellsFargo & C om pany                W ealth Enhancem entGroup,L L C                                     Clients in matters
                                                                                                                   unrelated to the debtors
377     W ellsFargo BankN ationalA ssociation W ealth Enhancem entGroup,L L C                                      Clients in matters
                                                                                                                   unrelated to the debtors
378     W ellsFargo Bank,L td.                 W ealth Enhancem entGroup,L L C                                     Clients in matters
                                                                                                                   unrelated to the debtors
379     W ellsFargo S ecuritiesL L C           W ealth Enhancem entGroup,L L C                                     Clients in matters
                                                                                                                   unrelated to the debtors
380     W estern A ssetM anagem entCom pany S eagate T echnology L L C                                             Clients in matters
                                                                                                                   unrelated to the debtors
381     W estern W orld Insurance Com pany     S T A T E O FP EN N S YL VA N IA                                    Clients in matters
                                                                                                                   unrelated to the debtors
382     W estinghouse ElectricCom pany L L C   P aR S ystem s                                                      Clients in matters
                                               W estinghouse ElectricCorp.                                         unrelated to the debtors
383     W estportInsurance Corporation         S w issR e A ssetM anagem ent                                       Clients in matters
                                               S w issR e L td                                                     unrelated to the debtors
                                               Youse C olom bia
384     W illiam sEnergy P ow erCom pany       Discovery,Inc.                                                      Clients in matters
                                               W illiam sCom panies                                                unrelated to the debtors
385     W illiam sField S ervices              Discovery,Inc.                                                      Clients in matters
                                               W illiam sCom panies                                                unrelated to the debtors
386     W inco Inc                             T R IN IT Y IN DU S T R IES                                         Clients in matters
                                                                                                                   unrelated to the debtors
387     W ood Group U S A Inc– U pstream and   GeneralElectricO il& Gas-Dow nstream T echnology                    Clients in matters
        M idstream Engineering                 S olutions                                                          unrelated to the debtors
388     X L Insurance A m ericaInc             A R DIA N France,S .A .                                             Clients in matters
                                               A X A ChinaR egionInsuranceCom panyL im ited                        unrelated to the debtors
                                               A X A T ianpingP & C Insurance Co.,Ltd.
                                               L ondon M arketGroup
                                               M AE
                                               R IO T IN T O GR O U P
                                               W IN T ER S HA L L DEA GM BH
                                               XL
                                               X L S ER VICES U K L IM IT ED
389     X L Insurance Com pany                 A R DIA N France,S .A .                                             Clients in matters
                                               A X A ChinaR egionInsuranceCom panyL im ited                        unrelated to the debtors
                                               A X A T ianpingP & C Insurance Co.,Ltd.
                                               L ondon M arketGroup
                                               M AE



      Case: 19-30088           Doc# 8334-2        Filed:Schedule
                                                         07/08/202 - 31 Entered: 07/08/20 17:02:47                            Page 32
                                                            of 55
#       Interested Party Name               Proposed Professionals Connection Name         Connection Type
                                            R IO T IN T O GR O U P
                                            W IN T ER S HA L L DEA GM BH
                                            XL
                                            X L S ER VICES U K L IM IT ED
390     X L S pecialty Insurance Com pany   A R DIA N France,S .A .                        Clients in matters
                                            A X A ChinaR egionInsuranceCom panyL im ited   unrelated to the debtors
                                            A X A T ianpingP & C Insurance Co.,Ltd.
                                            L ondon M arketGroup
                                            M AE
                                            R IO T IN T O GR O U P
                                            W IN T ER S HA L L DEA GM BH
                                            XL
                                            X L S ER VICES U K L IM IT ED
391     Zenith Insurance C om pany          A GT                                           Clients in matters
                                            A lFuttaim Group (A FG)                        unrelated to the debtors
392     Zurich Insurance Com pany L td      Baloise-HoldingA G                             Clients in matters
                                            BaslerVersicherungA G                          unrelated to the debtors
                                            Gilde Buy O utP artners
                                            IN G
                                            IN G BankN ederland
                                            Q BE
                                            S antanderBrasil
                                            S antanderM exico
                                            U num
                                            ZurichDeutscherHeroldL ebensversicherungA G
                                            Zurich FinancialS ervices
                                            Zurich Insurance
                                            Zurich Insurance Com pany L td
                                            Zurich Insurance Group A G
                                            Zurich N orth A m erica
                                            Zurich-S antander




      Case: 19-30088          Doc# 8334-2      Filed:Schedule
                                                      07/08/202 - 32 Entered: 07/08/20 17:02:47       Page 33
                                                         of 55
#     Interested Party Name                  Proposed Vendor Connection Name                           Connection Type
1     101 NETLINK                            NETLINK                                                   Vendor
2     683 Capital Partners LP on behalf of   INSPIRED                                                  Vendor
      certain funds and accounts
3     Advent International Corp.           LAZARD FRERES AND CO LLC                                    Vendor
4     Advent International GmbH            LAZARD FRERES AND CO LLC                                    Vendor
5     Advent Underwriting Ltd              B AND B CATERING EN LUNCHROOM CATERING                      Vendor
                                           BLACKBERRY LIMITED
                                           CITI BUYER CARD
                                           CITIBANK XSC LOCKBOX
                                           TD CARD SERVICES
6     Aerotek Inc                          TALENT TECH LABS                                            Vendor
7     AGCS Marine Insurance Company SGS NORTH AMERICA INC                                              Vendor
8     AIG Property Casualty Company        GLOBAL INFORMATION INC                                      Vendor
9     AIG Specialty Insurance Company      GLOBAL INFORMATION INC                                      Vendor
10    Allianz Global Corporate & Specialty SGS NORTH AMERICA INC                                       Vendor
11    Allianz Global Risks US Insurance    SGS NORTH AMERICA INC                                       Vendor
      Company
12    Allied Universal                     ADVENT SYSTEMS INC                                          Vendor
                                           UNIVERSAL PROTECTION SERVICE LP
13    Allied World Assurance Company       B AND B CATERING EN LUNCHROOM CATERING                      Vendor
                                           BLACKBERRY LIMITED
                                           CITI BUYER CARD
                                           CITIBANK XSC LOCKBOX
                                           TD CARD SERVICES
14    American Alternative Insurance       HSB SOLOMON ASSOCIATES LLC                                  Vendor
      Company                              MUV INC
                                           RELAYR INC
15    American Automobile Insurance        SGS NORTH AMERICA INC                                       Vendor
      Company
16    American Casualty Company            HOTEL VERNET BY B SIGNATURE HOTELS AND RESORTS              Vendor
17    American Family Home Insurance       HSB SOLOMON ASSOCIATES LLC                                  Vendor
      Company                              MUV INC
                                           RELAYR INC
18    American General Insurance           GLOBAL INFORMATION INC                                      Vendor
      Company dba ANPAC General
      Insurance Company
19    American Home Assurance Company GLOBAL INFORMATION INC                                           Vendor
20    American Insurance Company           SGS NORTH AMERICA INC                                       Vendor
21    American International Reinsurance GLOBAL INFORMATION INC                                        Vendor
      Company Ltd
22    American Messaging Services LLC      AQUIS SEARCH PRIVATE LIMITED                                Vendor
23    American Modern Home Insurance HSB SOLOMON ASSOCIATES LLC                                        Vendor
      Company                              MUV INC
                                           RELAYR INC
24    American Modern Insurance Group HSB SOLOMON ASSOCIATES LLC                                       Vendor
                                           MUV INC
                                           RELAYR INC
25    American Water Services              A AND W                                                     Vendor
26    Associated Indemnity Corporation     SGS NORTH AMERICA INC                                       Vendor
27    Atlas Copco                          MBAR LLC                                                    Vendor
28    AV Solar Ranch 1 LLC                 PHI SERVICES LLC                                            Vendor
29    AVI-SPL Inc                          AVI SPL LIMITED                                             Vendor
30    Bank of America                      MERRILL LYNCH PF                                            Vendor
31    Barclays Bank PLC                    CAPGEMINI AMERICA INC                                       Vendor
32    Barclays Capital Inc                 CAPGEMINI AMERICA INC                                       Vendor
33    BC Laboratories Inc                  GLASSDOOR INC                                               Vendor
                                           INDEED INC
34    Berkshire Hathaway Energy            AMERICAN EXPRESS                                            Vendor
      Renewables                           AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS



     Case: 19-30088          Doc# 8334-2            Filed:Schedule
                                                           07/08/202 - 33 Entered: 07/08/20 17:02:47   Page 34
                                                              of 55
#     Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                      AMERICAN EXPRESS TRANSACTION
                                      AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                      AMEX CARD
                                      APPLE ASIA LIMITED
                                      APPLE INC
                                      APPLE SOUTH ASIA PTE LTD
                                      APPLE STORE
                                      AXA
                                      CITI BUYER CARD
                                      COCA COLA REFRESHMENTS
                                      COCA COLA SCHOLARS FOUNDATION INC
                                      FLORIDA NETWORK SOLUTIONS
                                      GRAND HYATT VAIL
                                      HILTON BENTLEY MIAMI SOUTH BEACH
                                      HILTON BUDAPEST CITY
                                      HILTON CHICAGO O'HARE AIRPORT
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HYATT REGENCY ADDIS ABABA
                                      HYATT REGENCY PHOENIX
35    Berkshire Hathaway Guard Ins    AMERICAN EXPRESS                                         Vendor
                                      AMERICAN EXPRESS CARDS
                                      AMERICAN EXPRESS EADS
                                      AMERICAN EXPRESS MEETINGS AND EVENTS
                                      AMERICAN EXPRESS TRANSACTION
                                      AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                      AMEX CARD
                                      APPLE ASIA LIMITED
                                      APPLE INC
                                      APPLE SOUTH ASIA PTE LTD
                                      APPLE STORE
                                      AXA
                                      CITI BUYER CARD
                                      COCA COLA REFRESHMENTS
                                      COCA COLA SCHOLARS FOUNDATION INC
                                      FLORIDA NETWORK SOLUTIONS
                                      GRAND HYATT VAIL
                                      HILTON BENTLEY MIAMI SOUTH BEACH
                                      HILTON BUDAPEST CITY
                                      HILTON CHICAGO O'HARE AIRPORT
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE



     Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                   07/08/202 - 34 Entered: 07/08/20 17:02:47   Page 35
                                                      of 55
#     Interested Party Name              Proposed Vendor Connection Name                          Connection Type
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         HYATT REGENCY ADDIS ABABA
                                         HYATT REGENCY PHOENIX
36    Berkshire Hathaway International   AMERICAN EXPRESS                                         Vendor
      Insurance Limited                  AMERICAN EXPRESS CARDS
                                         AMERICAN EXPRESS EADS
                                         AMERICAN EXPRESS MEETINGS AND EVENTS
                                         AMERICAN EXPRESS TRANSACTION
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         HYATT REGENCY ADDIS ABABA
                                         HYATT REGENCY PHOENIX
37    Berkshire Hathaway Specialty       AMERICAN EXPRESS                                         Vendor
      Insurance Company                  AMERICAN EXPRESS CARDS
                                         AMERICAN EXPRESS EADS
                                         AMERICAN EXPRESS MEETINGS AND EVENTS
                                         AMERICAN EXPRESS TRANSACTION
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS



     Case: 19-30088           Doc# 8334-2      Filed:Schedule
                                                      07/08/202 - 35 Entered: 07/08/20 17:02:47   Page 36
                                                         of 55
#     Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HYATT REGENCY ADDIS ABABA
                                      HYATT REGENCY PHOENIX
38    BlackRock Fund Advisors         AMERICAN EXPRESS MEETINGS AND EVENTS                     Vendor
                                      ARCONIC INC
                                      ARIA
                                      AVON PRODUCTS INC
                                      B AND B CATERING EN LUNCHROOM CATERING
                                      B AND H PHOTO VIDEO PRO AUDIO
                                      B AND H PHOTO VIDEO PRO AUDIO****USE V#65657
                                      BLOOMINGDALES
                                      CAPGEMINI AMERICA INC
                                      CAPGEMINI US LLC
                                      CAPO
                                      COMMSCOPE TECHNOLOGIES LLC
                                      CT CORPORATION
                                      DIEBOLD INC
                                      DISTRITO
                                      DOMO INC
                                      DONNELLEY FINANCIAL SOLUTIONS
                                      DROPBOX INC
                                      DYNAMIC YIELD INC
                                      DYNAMIC YIELD LTD
                                      EDGAR ONLINE INC
                                      ERNST AND YOUNG US LLP
                                      FOLIO
                                      FOURWAYS
                                      GLOBAL BUSINESS TRAVEL SINGAPORE PTE LTD
                                      HCA SA
                                      HERTZ CORPORATION
                                      HOLLYWOOD BEACH MARRIOTT
                                      HOTEL JW MARRIOTT BOGOTA
                                      MACYS RETAIL HOLDINGS INC
                                      MCDONALD S USA LLC
                                      MEDTECH E M S
                                      NEW RELIC INC
                                      OSEBERG INC
                                      PEAK PERFORMANCE PRESENCE LIMITED
                                      PELOTON
                                      SNOWBIRD MDS LLC
                                      SOLIDTHINKING INC
                                      THE CASE CENTRE
                                      THE CHILDRENS PLACE
                                      THE RIGHT MOVE GROUP LLC
                                      UNCF
                                      VITAE
39    BOKF NA                         BOKF NA                                                  Vendor
40    California American Water       A AND W                                                  Vendor
41    Canon Solutions America Inc     CANON SOLUTIONS AMERICA                                  Vendor
42    Cardinal Cogen                  FMC TECHNOLOGIES INC                                     Vendor



     Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                   07/08/202 - 36 Entered: 07/08/20 17:02:47   Page 37
                                                      of 55
#     Interested Party Name            Proposed Vendor Connection Name                          Connection Type
                                       WESTIN CLEVELAND DOWNTOWN
43    Cargill Inc                      DESCARTES LABS                                           Vendor
44    Cargill Ltd                      DESCARTES LABS                                           Vendor
45    Cargill Power Markets LLC        DESCARTES LABS                                           Vendor
46    CarVal Investors                 DESCARTES LABS                                           Vendor
47    Caspian Capital LP               BRIDGE HOUSE ADVISORS                                    Vendor
48    Certain affiliates of American   GLOBAL INFORMATION INC                                   Vendor
      International Group Inc :
49    Chubb Group:                         DELTA ELEVATOR COMPANY LIMITED                       Vendor
50    CIMA Energy Ltd                      MAG NIFICENT LLC                                     Vendor
51    Cognizant Worldwide Limited          COGNIZANT TECHNOLOGY SOLUTIONS US CORPORATION        Vendor
                                           NASDAQ INC
52    Commerce West Insurance Company VIAJES CAMINO DEL SOL SA                                  Vendor
53    Compass Lexecon LLC                  COMPASS LEXECON                                      Vendor
54    ConeTec Investigations Ltd           ADP LLC                                              Vendor
                                           HOTEL VERNET BY B SIGNATURE HOTELS AND RESORTS
                                           PREMIER CATERING
55    Constellation Energy Group Inc       PHI SERVICES LLC                                     Vendor
56    Crux Subsurface Inc                  CROWN CASTLE FIBER LLC                               Vendor
57    Cummins Pacific                      CUMMINS INC                                          Vendor
58    Davidson Kempner Capital             AVAYA INC                                            Vendor
      Management                           TENET HEALTHCARE FOUNDATION
                                           THE SPOKE CLUB
59    DB Energy Trading                    CSX LLC                                              Vendor
                                           SALESFORCE
                                           VUELING AIRLINES SA
60    DE Shaw                              HERTZ CORPORATION                                    Vendor
                                           SNOWBIRD MDS LLC
61    Deutsche Bank                        CSX LLC                                              Vendor
                                           SALESFORCE
                                           VUELING AIRLINES SA
62    Deutsche Bank National Trust         CSX LLC                                              Vendor
      Company                              SALESFORCE
                                           VUELING AIRLINES SA
63    Deutsche Bank Securities Inc         CSX LLC                                              Vendor
                                           SALESFORCE
                                           VUELING AIRLINES SA
64    Deutsche Bank Trust Company          CSX LLC                                              Vendor
      Americas                             SALESFORCE
                                           VUELING AIRLINES SA
65    EDF Renewable Energy                 PIERRE AUDOIN CONSEIL PAC GMBH                       Vendor
66    EDF Trading                          PIERRE AUDOIN CONSEIL PAC GMBH                       Vendor
67    Edf Trading North America LLC        PIERRE AUDOIN CONSEIL PAC GMBH                       Vendor
68    Electric Insurance Company           FMC TECHNOLOGIES INC                                 Vendor
                                           WESTIN CLEVELAND DOWNTOWN
69    Elliott Management Corporation       THE JERSEY COMPANY                                   Vendor
70    Empyrean Capital Partners LP on      MTS ALLSTREAM INC                                    Vendor
      behalf of certain funds and accounts YELLOW PAGES GROUP
71    Environment One Corporation          AMERICAN EXPRESS                                     Vendor
                                           AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS
                                           AMERICAN EXPRESS TRANSACTION
                                           AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                           AMEX CARD
                                           APPLE ASIA LIMITED
                                           APPLE INC
                                           APPLE SOUTH ASIA PTE LTD
                                           APPLE STORE
                                           AXA
                                           CITI BUYER CARD


     Case: 19-30088           Doc# 8334-2    Filed:Schedule
                                                    07/08/202 - 37 Entered: 07/08/20 17:02:47   Page 38
                                                       of 55
#     Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                      COCA COLA REFRESHMENTS
                                      COCA COLA SCHOLARS FOUNDATION INC
                                      FLORIDA NETWORK SOLUTIONS
                                      GRAND HYATT VAIL
                                      HILTON BENTLEY MIAMI SOUTH BEACH
                                      HILTON BUDAPEST CITY
                                      HILTON CHICAGO O'HARE AIRPORT
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HYATT REGENCY ADDIS ABABA
                                      HYATT REGENCY PHOENIX
72    Everest Indemnity Insurance     EVEREST                                                  Vendor
      Company
73    Everest National Insurance Company EVEREST                                               Vendor
74    Exelon Corporation                 PHI SERVICES LLC                                      Vendor
75    Exelon Generation Company LLC      PHI SERVICES LLC                                      Vendor
76    ExGen Renewables                   PHI SERVICES LLC                                      Vendor
77    Exploratorium                      THE EXPLORATORIUM                                     Vendor
78    Fairfax Co                         B AND B CATERING EN LUNCHROOM CATERING                Vendor
                                         BLACKBERRY LIMITED
                                         CITI BUYER CARD
                                         CITIBANK XSC LOCKBOX
                                         TD CARD SERVICES
79    Farallon Capital Management LLC DINGO MINING PTY LTD                                     Vendor
                                         THE WESTIN
                                         WESTIN CLEVELAND DOWNTOWN
80    Fidelity Management & Research     ECLERX SERVICES LIMITED                               Vendor
      Company                            GSKY PLANT SYSTEMS INC
                                         THE TRADE PARTNERSHIP
                                         TRADE
81    Fidelity Management Trust Company ECLERX SERVICES LIMITED                                Vendor
                                         GSKY PLANT SYSTEMS INC
                                         THE TRADE PARTNERSHIP
                                         TRADE
82    Fireman’s Fund Insurance Company SGS NORTH AMERICA INC                                   Vendor
83    Five Points Construction Co Inc    CROWN CASTLE FIBER LLC                                Vendor
84    Ford Motor Company                 PIVOT                                                 Vendor
85    Forefront Power LLC                EATALY BOSTON                                         Vendor
                                         HILL COUNTRY NEW YORK LLC
                                         INTERCONTINENTAL WASHINGTON DC THE WHARF
86    Framatome Inc                      PIERRE AUDOIN CONSEIL PAC GMBH                        Vendor
87    Freeport McMoRan Oil & Gas LLC FREEPORT MINERALS CORPORATION                             Vendor
88    FTI Consulting Inc                 COMPASS LEXECON                                       Vendor
89    Gartner Inc                        AMR ADVANCED MARKET RESEARCH GMBH                     Vendor
90    GCube Insurance Services Inc       MARSH AND MCLENNAN COMPANIES                          Vendor
                                         MERCER FINANCIAL SERVICES MIDDLE EAST LIMITED
91    GE Oil & Gas - North America       FMC TECHNOLOGIES INC                                  Vendor
                                         WESTIN CLEVELAND DOWNTOWN
92    GE Renewable Energy                FMC TECHNOLOGIES INC                                  Vendor
                                         WESTIN CLEVELAND DOWNTOWN



     Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                   07/08/202 - 38 Entered: 07/08/20 17:02:47   Page 39
                                                      of 55
#     Interested Party Name             Proposed Vendor Connection Name                           Connection Type
93    Geico General Insurance Company   AMERICAN EXPRESS                                          Vendor
                                        AMERICAN EXPRESS CARDS
                                        AMERICAN EXPRESS EADS
                                        AMERICAN EXPRESS MEETINGS AND EVENTS
                                        AMERICAN EXPRESS TRANSACTION
                                        AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                        AMEX CARD
                                        APPLE ASIA LIMITED
                                        APPLE INC
                                        APPLE SOUTH ASIA PTE LTD
                                        APPLE STORE
                                        AXA
                                        CITI BUYER CARD
                                        COCA COLA REFRESHMENTS
                                        COCA COLA SCHOLARS FOUNDATION INC
                                        FLORIDA NETWORK SOLUTIONS
                                        GRAND HYATT VAIL
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT
                                        HILTON HOTEL CARILLON PARK
                                        HILTON INN AT PENN
                                        HILTON JAMAL DAY
                                        HILTON KNOXVILLE AIRPORT
                                        HILTON LONG BEACH
                                        HILTON MUNICH AIRPORT
                                        HILTON NEWARK AIRPORT
                                        HILTON PALMER HOUSE
                                        HILTON PHILADEPHIA AT PENNS LANDING
                                        HILTON SHORT HILLS
                                        HILTON ST PETERSBURG CARILLON PARK
                                        HYATT REGENCY ADDIS ABABA
                                        HYATT REGENCY PHOENIX
94    Geico Indemnity Company           AMERICAN EXPRESS                                          Vendor
                                        AMERICAN EXPRESS CARDS
                                        AMERICAN EXPRESS EADS
                                        AMERICAN EXPRESS MEETINGS AND EVENTS
                                        AMERICAN EXPRESS TRANSACTION
                                        AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                        AMEX CARD
                                        APPLE ASIA LIMITED
                                        APPLE INC
                                        APPLE SOUTH ASIA PTE LTD
                                        APPLE STORE
                                        AXA
                                        CITI BUYER CARD
                                        COCA COLA REFRESHMENTS
                                        COCA COLA SCHOLARS FOUNDATION INC
                                        FLORIDA NETWORK SOLUTIONS
                                        GRAND HYATT VAIL
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT
                                        HILTON HOTEL CARILLON PARK
                                        HILTON INN AT PENN
                                        HILTON JAMAL DAY
                                        HILTON KNOXVILLE AIRPORT



     Case: 19-30088           Doc# 8334-2      Filed:Schedule
                                                      07/08/202 - 39 Entered: 07/08/20 17:02:47   Page 40
                                                         of 55
#      Interested Party Name              Proposed Vendor Connection Name                       Connection Type
                                          HILTON LONG BEACH
                                          HILTON MUNICH AIRPORT
                                          HILTON NEWARK AIRPORT
                                          HILTON PALMER HOUSE
                                          HILTON PHILADEPHIA AT PENNS LANDING
                                          HILTON SHORT HILLS
                                          HILTON ST PETERSBURG CARILLON PARK
                                          HYATT REGENCY ADDIS ABABA
                                          HYATT REGENCY PHOENIX
95     Gelco Corporation dba GE Fleet     FMC TECHNOLOGIES INC                                  Vendor
       Services                           WESTIN CLEVELAND DOWNTOWN
96     Golden State Towers                CROWN CASTLE FIBER LLC                                Vendor
97     GoldenTree Asset Management LP     EAG INC                                               Vendor
98     Google Inc                         MOTIVATE MASSACHUSETTS LLC                            Vendor
99     Government Employees Insurance     AMERICAN EXPRESS                                      Vendor
       Company                            AMERICAN EXPRESS CARDS
                                          AMERICAN EXPRESS EADS
                                          AMERICAN EXPRESS MEETINGS AND EVENTS
                                          AMERICAN EXPRESS TRANSACTION
                                          AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                          AMEX CARD
                                          APPLE ASIA LIMITED
                                          APPLE INC
                                          APPLE SOUTH ASIA PTE LTD
                                          APPLE STORE
                                          AXA
                                          CITI BUYER CARD
                                          COCA COLA REFRESHMENTS
                                          COCA COLA SCHOLARS FOUNDATION INC
                                          FLORIDA NETWORK SOLUTIONS
                                          GRAND HYATT VAIL
                                          HILTON BENTLEY MIAMI SOUTH BEACH
                                          HILTON BUDAPEST CITY
                                          HILTON CHICAGO O'HARE AIRPORT
                                          HILTON DENVER INVERNESS
                                          HILTON FORT LAUDERDALE BEACH RESORT
                                          HILTON HOTEL CARILLON PARK
                                          HILTON INN AT PENN
                                          HILTON JAMAL DAY
                                          HILTON KNOXVILLE AIRPORT
                                          HILTON LONG BEACH
                                          HILTON MUNICH AIRPORT
                                          HILTON NEWARK AIRPORT
                                          HILTON PALMER HOUSE
                                          HILTON PHILADEPHIA AT PENNS LANDING
                                          HILTON SHORT HILLS
                                          HILTON ST PETERSBURG CARILLON PARK
                                          HYATT REGENCY ADDIS ABABA
                                          HYATT REGENCY PHOENIX
100    Granite State Insurance Company    GLOBAL INFORMATION INC                                Vendor
101    Great Lakes Insurance SE           HSB SOLOMON ASSOCIATES LLC                            Vendor
                                          MUV INC
                                          RELAYR INC
102    Greenwaste of Tehama               DROPBOX INC                                           Vendor
103    Hodges                             HODGES TAYLOR ART CONSULTANCY LLC                     Vendor
104    Hunton Andrews Kurth LLP           HUNTON ANDREWS KURTH LLP                              Vendor
105    ICE NGX Canada Inc                 INTERCONTINENTAL WASHINGTON DC THE WHARF              Vendor
106    ICF Consulting Group Inc           CITY TECH COLLABORATIVE                               Vendor
107    Interstate Fire & Casualty Company SGS NORTH AMERICA INC                                 Vendor
108    JP Morgan Chase Bank NA            NELSON                                                Vendor
                                          STANLEY CANADA CORPORATION



      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 40 Entered: 07/08/20 17:02:47   Page 41
                                                       of 55
#      Interested Party Name                Proposed Vendor Connection Name                          Connection Type
                                            STANLEY CONVERGENT SECURITY SOLUTIONS INC
                                            STANLEY SECURITY SOLUTIONS INC
                                            THE HUNTINGTON NATIONAL BANK
109    JP Morgan Securities LLC             NELSON                                                   Vendor
                                            STANLEY CANADA CORPORATION
                                            STANLEY CONVERGENT SECURITY SOLUTIONS INC
                                            STANLEY SECURITY SOLUTIONS INC
                                            THE HUNTINGTON NATIONAL BANK
110    JP Morgan Ventures Energy            NELSON                                                   Vendor
       Corporation                          STANLEY CANADA CORPORATION
                                            STANLEY CONVERGENT SECURITY SOLUTIONS INC
                                            STANLEY SECURITY SOLUTIONS INC
                                            THE HUNTINGTON NATIONAL BANK
111    Kern River Gas Transmission          AMERICAN EXPRESS                                         Vendor
       Company                              AMERICAN EXPRESS CARDS
                                            AMERICAN EXPRESS EADS
                                            AMERICAN EXPRESS MEETINGS AND EVENTS
                                            AMERICAN EXPRESS TRANSACTION
                                            AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                            AMEX CARD
                                            APPLE ASIA LIMITED
                                            APPLE INC
                                            APPLE SOUTH ASIA PTE LTD
                                            APPLE STORE
                                            AXA
                                            CITI BUYER CARD
                                            COCA COLA REFRESHMENTS
                                            COCA COLA SCHOLARS FOUNDATION INC
                                            FLORIDA NETWORK SOLUTIONS
                                            GRAND HYATT VAIL
                                            HILTON BENTLEY MIAMI SOUTH BEACH
                                            HILTON BUDAPEST CITY
                                            HILTON CHICAGO O'HARE AIRPORT
                                            HILTON DENVER INVERNESS
                                            HILTON FORT LAUDERDALE BEACH RESORT
                                            HILTON HOTEL CARILLON PARK
                                            HILTON INN AT PENN
                                            HILTON JAMAL DAY
                                            HILTON KNOXVILLE AIRPORT
                                            HILTON LONG BEACH
                                            HILTON MUNICH AIRPORT
                                            HILTON NEWARK AIRPORT
                                            HILTON PALMER HOUSE
                                            HILTON PHILADEPHIA AT PENNS LANDING
                                            HILTON SHORT HILLS
                                            HILTON ST PETERSBURG CARILLON PARK
                                            HYATT REGENCY ADDIS ABABA
                                            HYATT REGENCY PHOENIX
112    KMPG SA                              GRANT THORNTON BEDRIJFSREVISOREN CVBA                    Vendor
                                            KPMG ABOGADOS SL
                                            KPMG CROATIA D O O
                                            KPMG LLP
                                            OPTIMUM SOLUTIONS CORPORATION
                                            PIVOT
                                            THOMSON REUTERS INDIA PRIVATE LIMITED
113    Knighthead Capital Management        MERCER                                                   Vendor
       LLC on behalf of certain funds and
       Accounts
114    KPMG Law                             GRANT THORNTON BEDRIJFSREVISOREN CVBA                    Vendor
       Rechtsanwaltsgesellschaft            KPMG ABOGADOS SL
                                            KPMG CROATIA D O O



      Case: 19-30088           Doc# 8334-2        Filed:Schedule
                                                         07/08/202 - 41 Entered: 07/08/20 17:02:47   Page 42
                                                            of 55
#      Interested Party Name               Proposed Vendor Connection Name                      Connection Type
                                           KPMG LLP
                                           OPTIMUM SOLUTIONS CORPORATION
                                           PIVOT
                                           THOMSON REUTERS INDIA PRIVATE LIMITED
115    Level 3 Communications LLC          CENTURYLINK COMUNICACOES DO BRASIL LTDA TAX ID       Vendor
                                           72843212000141
116    Lewis-Goetz and Company Inc         NPM INC                                              Vendor
117    Lexington Insurance Company         GLOBAL INFORMATION INC                               Vendor
118    Lord Abbett & Co LLC                KOLBE GmbH & Co. KG                                  Vendor
119    Louis Berger US INC                 HARMER CONSULTANTS INC                               Vendor
120    Macquarie Can                       LOGOS INC                                            Vendor
121    Macquarie Energy LLC                LOGOS INC                                            Vendor
122    Macquarie Futures USA Inc.          LOGOS INC                                            Vendor
123    MAPFRE Insurance Company            VIAJES CAMINO DEL SOL SA                             Vendor
124    Mapfre USA                          VIAJES CAMINO DEL SOL SA                             Vendor
125    MassMutual Asset Finance LLC        MASSACHUSETTS MUTUAL LIFE INSURANCE                  Vendor
126    MassMutual Life Insurance Company MASSACHUSETTS MUTUAL LIFE INSURANCE                    Vendor
                                           MASSMUTUAL FINANCIAL GROUP
127    Mears Group Inc                     CROWN CASTLE FIBER LLC                               Vendor
128    Merrill Lynch                       MERRILL LYNCH PF                                     Vendor
129    Merrill Lynch Commodities Inc       MERRILL LYNCH PF                                     Vendor
130    Merrill Lynch Pierce Fenner & Smith MERRILL LYNCH PF                                     Vendor
       Incorporated
131    Metro PCS California LLC            DOCUSIGN INC                                         Vendor
                                           THE BALLROOM
132    Metropolitan Direct Property And    DELAWARE AMERICAN LIFE INSURANCE COMPANY             Vendor
       Casualty Insurance Company
133    Metropolitan Property and Casualty DELAWARE AMERICAN LIFE INSURANCE COMPANY              Vendor
       Insurance Company
134    MidAmerican Energy                  AMERICAN EXPRESS                                     Vendor
                                           AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS
                                           AMERICAN EXPRESS TRANSACTION
                                           AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                           AMEX CARD
                                           APPLE ASIA LIMITED
                                           APPLE INC
                                           APPLE SOUTH ASIA PTE LTD
                                           APPLE STORE
                                           AXA
                                           CITI BUYER CARD
                                           COCA COLA REFRESHMENTS
                                           COCA COLA SCHOLARS FOUNDATION INC
                                           FLORIDA NETWORK SOLUTIONS
                                           GRAND HYATT VAIL
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON BUDAPEST CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON LONG BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON PALMER HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON SHORT HILLS



      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 42 Entered: 07/08/20 17:02:47   Page 43
                                                       of 55
#      Interested Party Name              Proposed Vendor Connection Name                          Connection Type
                                          HILTON ST PETERSBURG CARILLON PARK
                                          HYATT REGENCY ADDIS ABABA
                                          HYATT REGENCY PHOENIX
135    Morgan Stanley Bank NA             LOEWEN FMR INC                                           Vendor
136    Morgan Stanley Capital Group Inc   LOEWEN FMR INC                                           Vendor
137    Morgan Stanley ISG Operations      LOEWEN FMR INC                                           Vendor
138    Morgan Stanley Senior Funding      LOEWEN FMR INC                                           Vendor
139    Munich Re                          HSB SOLOMON ASSOCIATES LLC                               Vendor
                                          MUV INC
                                          RELAYR INC
140    NASDAQ OMX Commodities             NASDAQ INC                                               Vendor
       Clearing - Contract Merchant LLC
141    National Fire & Marine Insurance   AMERICAN EXPRESS                                         Vendor
       Company                            AMERICAN EXPRESS CARDS
                                          AMERICAN EXPRESS EADS
                                          AMERICAN EXPRESS MEETINGS AND EVENTS
                                          AMERICAN EXPRESS TRANSACTION
                                          AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                          AMEX CARD
                                          APPLE ASIA LIMITED
                                          APPLE INC
                                          APPLE SOUTH ASIA PTE LTD
                                          APPLE STORE
                                          AXA
                                          CITI BUYER CARD
                                          COCA COLA REFRESHMENTS
                                          COCA COLA SCHOLARS FOUNDATION INC
                                          FLORIDA NETWORK SOLUTIONS
                                          GRAND HYATT VAIL
                                          HILTON BENTLEY MIAMI SOUTH BEACH
                                          HILTON BUDAPEST CITY
                                          HILTON CHICAGO O'HARE AIRPORT
                                          HILTON DENVER INVERNESS
                                          HILTON FORT LAUDERDALE BEACH RESORT
                                          HILTON HOTEL CARILLON PARK
                                          HILTON INN AT PENN
                                          HILTON JAMAL DAY
                                          HILTON KNOXVILLE AIRPORT
                                          HILTON LONG BEACH
                                          HILTON MUNICH AIRPORT
                                          HILTON NEWARK AIRPORT
                                          HILTON PALMER HOUSE
                                          HILTON PHILADEPHIA AT PENNS LANDING
                                          HILTON SHORT HILLS
                                          HILTON ST PETERSBURG CARILLON PARK
                                          HYATT REGENCY ADDIS ABABA
                                          HYATT REGENCY PHOENIX
142    National Surety Corporation        SGS NORTH AMERICA INC                                    Vendor
143    National Union Fire Insurance      GLOBAL INFORMATION INC                                   Vendor
       Company of Pittsburgh Pa
144    New Hampshire Insurance Company GLOBAL INFORMATION INC                                      Vendor
145    Nextel Communications               CIC SHANGHAI INFORMATION TECHNOLOGY CO LTD              Vendor
                                           MEETUP
146    Nextel of California Inc a Delaware CIC SHANGHAI INFORMATION TECHNOLOGY CO LTD              Vendor
       Corp                                MEETUP
147    Noresco LLC                         DELTA ELEVATOR COMPANY LIMITED                          Vendor
148    NV Energy                           AMERICAN EXPRESS                                        Vendor
                                           AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS
                                           AMERICAN EXPRESS TRANSACTION



      Case: 19-30088           Doc# 8334-2      Filed:Schedule
                                                       07/08/202 - 43 Entered: 07/08/20 17:02:47   Page 44
                                                          of 55
#      Interested Party Name             Proposed Vendor Connection Name                        Connection Type
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         HYATT REGENCY ADDIS ABABA
                                         HYATT REGENCY PHOENIX
149    Och-Ziff Capital Management Group ZEE MEDICAL INC                                        Vendor
       LLC
150    Oracle America Inc                CONTENT MANAGEMENT LLC                                 Vendor
151    Oracle Corporation                CONTENT MANAGEMENT LLC                                 Vendor
152    Otis Elevator Company             DELTA ELEVATOR COMPANY LIMITED                         Vendor
153    Pace Engineering Inc              CROWN CASTLE FIBER LLC                                 Vendor
154    Pacific Investment Management     SGS NORTH AMERICA INC                                  Vendor
       Company LLC
155    Pacific Summit Energy LLC         RELAYR INC                                             Vendor
156    Pacificorp                        AMERICAN EXPRESS                                       Vendor
                                         AMERICAN EXPRESS CARDS
                                         AMERICAN EXPRESS EADS
                                         AMERICAN EXPRESS MEETINGS AND EVENTS
                                         AMERICAN EXPRESS TRANSACTION
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT



      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 44 Entered: 07/08/20 17:02:47   Page 45
                                                       of 55
#      Interested Party Name                 Proposed Vendor Connection Name                    Connection Type
                                             HILTON HOTEL CARILLON PARK
                                             HILTON INN AT PENN
                                             HILTON JAMAL DAY
                                             HILTON KNOXVILLE AIRPORT
                                             HILTON LONG BEACH
                                             HILTON MUNICH AIRPORT
                                             HILTON NEWARK AIRPORT
                                             HILTON PALMER HOUSE
                                             HILTON PHILADEPHIA AT PENNS LANDING
                                             HILTON SHORT HILLS
                                             HILTON ST PETERSBURG CARILLON PARK
                                             HYATT REGENCY ADDIS ABABA
                                             HYATT REGENCY PHOENIX
157    PAR Electrical Contractors Inc        CROWN CASTLE FIBER LLC                             Vendor
158    Paulson & Co Inc on behalf of certain JW MARRIOTT MINNEAPOLIS MALL OF AMERICA            Vendor
       funds and accounts                    THE CALL OF DUTY ENDOWMENT
159    Pentwater Capital Management LP DARIEN NATURE CENTER INC                                 Vendor
       on behalf of certain funds and        FLO TECH
       accounts                              SIX FLAGS GREAT ADVENTURE
160    Potelco Inc                           CROWN CASTLE FIBER LLC                             Vendor
161    PricewaterhouseCoopers LLP            MBAR LLC                                           Vendor
162    Quanta Energy Services LLC            CROWN CASTLE FIBER LLC                             Vendor
163    Quanta Technology                     CROWN CASTLE FIBER LLC                             Vendor
164    Quanta Utility Engineering Services CROWN CASTLE FIBER LLC                               Vendor
165    Redwood Capital Management LLC MERCER                                                    Vendor
       on behalf of certain funds and
       accounts
166    RLI Insurance Company                 RLY CO LLC                                         Vendor
167    Sachem Head Capital Management EAG INC                                                   Vendor
       LP
168    San Luis Garbage                      DROPBOX INC                                        Vendor
169    Silver Point Capital LP               CATALYST INC                                       Vendor
                                             GAYLORD NATIONAL RESORT AND CONVENTION CENTER
170    Springer                              SPRINGER NATURE CUSTOMER SERVICE CENTRE GMBH       Vendor
171    Sprint                                CIC SHANGHAI INFORMATION TECHNOLOGY CO LTD         Vendor
                                             MEETUP
172    SPX Transformer Solutions Inc -       DELAIR SAS                                         Vendor
       Service Division
173    Stonhard A division of StonCor        RPM ON THE WATER                                   Vendor
       Group Inc
174    Storage Technology Corp               CONTENT MANAGEMENT LLC                             Vendor
175    Summit Line Construction Inc          CROWN CASTLE FIBER LLC                             Vendor
176    T Rowe Price Associates Inc           DOMO INC                                           Vendor
                                             EVENTBRITE
                                             NEW RELIC INC
177    TD Bank NA                            THE TORONTO DOMINION BANK                          Vendor
178    Td Energy Trading Inc                 THE TORONTO DOMINION BANK                          Vendor
179    TD Securities                         THE TORONTO DOMINION BANK                          Vendor
180    TDW Services Inc                      TDWI                                               Vendor
181    The Alliance to Save Energy           ALLIANCE TO SAVE ENERGY                            Vendor
182    The Baupost Group LLC                 NASDAQ INC                                         Vendor
                                             THE FOX GROUP LLC
                                             THE LIBERTY NYC
183    The Insurance Company of the State GLOBAL INFORMATION INC                                Vendor
       of Pennsylvania
184    The North River Insurance             B AND B CATERING EN LUNCHROOM CATERING             Vendor
                                             BLACKBERRY LIMITED
                                             CITI BUYER CARD
                                             CITIBANK XSC LOCKBOX
                                             TD CARD SERVICES
185    The Princeton Excess and Surplus      HSB SOLOMON ASSOCIATES LLC                         Vendor



      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 45 Entered: 07/08/20 17:02:47   Page 46
                                                       of 55
#      Interested Party Name        Proposed Vendor Connection Name                          Connection Type
       Lines Insurance Company      MUV INC
                                    RELAYR INC
186    The Vanguard Group Inc       **DNU**MOBIUS EXECUTIVE** USE V# 138209                  Vendor
                                    ABA AND THE DALCY FULTON MARKET
                                    ALLOCATION
                                    AMEX CARD
                                    AMP
                                    ARCONIC INC
                                    ARIA
                                    B AND B CATERING EN LUNCHROOM CATERING
                                    BANK OF THE WEST
                                    BENEFIT RESOURCE INC
                                    BLACKSTONE HOLDINGS FINANCE CO LLC
                                    CATALYST INC
                                    CINTAS
                                    CINTAS CORPORATION NO 2***DNU***USE 69383
                                    CINTAS FIRST AID AND SAFETY
                                    CITIBANK XSC LOCKBOX
                                    CLARION ENERGY LTD
                                    COCA COLA REFRESHMENTS
                                    COCA COLA SCHOLARS FOUNDATION INC
                                    DE LA SALLE COLLEGIATE HIGH SCHOOL
                                    DELTA AIR LINES INC
                                    DELUXE SMALL BUSINESS SALES INC
                                    DESTINATION SERVICES CORPORATION
                                    DISNEY DESTINATIONS LLC
                                    DISNEY INSTITUTE
                                    DISNEY RESORT DESTINATIONS
                                    DONNELLEY FINANCIAL SOLUTIONS
                                    EDGAR ONLINE INC
                                    EXTRA SPACE STORAGE
                                    FACTSET RESEARCH SYSTEMS INC
                                    FALCON HOLDING COMPANY LLC
                                    FARE
                                    FIFTH THIRD BANK
                                    FORUM GROUP LLC
                                    FRANKLIN STREET GALLERY INC
                                    GOODMAN THEATRE
                                    GRAINGER
                                    GSO CAPITAL PARTNERS LP
                                    HAHN AIR SYSTEMS
                                    HARDINGS
                                    HASBRO INC
                                    HAWAIIAN AIRLINES INC
                                    HENRY SCHEIN CANADA
                                    HOLLYWOODBEACH MARRIOTT
                                    HOTEL JW MARRIOTT BOGOTA
                                    HOTEL MARRIOTT
                                    IAC INTERACTIVECORP
                                    INSTANT TECHNOLOGIES
                                    J AND J HEALTH AND WELLNESS SOLUTIONS INC
                                    JETBLUE
                                    JETBLUE AIRWAYS CORPORATION
                                    JOHNSON AND JOHNSON
                                    JOHNSON AND JOHNSON HEALTH AND WELLNESS SOLUTIONS INC
                                    JOHNSON AND JOHNSON HUMAN PERFORMANCE INSTITUTE
                                    JW MARRIOTT CHICAGO
                                    JW MARRIOTT GRANDE LAKES
                                    JW MARRIOTT HOTEL
                                    JW MARRIOTT HOTEL BUCKHEAD ATLANTA
                                    JW MARRIOTT HOTEL HONG KONG



      Case: 19-30088        Doc# 8334-2   Filed:Schedule
                                                 07/08/202 - 46 Entered: 07/08/20 17:02:47   Page 47
                                                    of 55
#    Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                     JW MARRIOTT HOTEL MIAMI
                                     JW MARRIOTT HOTEL SAN FRANCISCO
                                     JW MARRIOTT MARQUIS MIAMI
                                     LAN AIRLINES SA
                                     LASERNETWORKS INC.
                                     LATAM AIRLINES SA
                                     LATAM CARGO CHILE
                                     MADISON SQUARE GARDEN ENTERTAINMENT
                                     MAKER INC
                                     MARRIOTT BUDAPSET
                                     MARRIOTT COSTA RICA SAN JOSE
                                     MARRIOTT COUNTY HALL LONDON
                                     MARRIOTT FOUNDATION FOR PEOPLE WITH DISABILITIES
                                     MARRIOTT HOTEL
                                     MARRIOTT HOTEL SERVICES INC
                                     MARRIOTT MARQUIS SAN DIEGO MARINA
                                     MARRIOTT NEW YORK EASTSIDE
                                     MEDTECH E M S
                                     MERITOR INC
                                     MONROE
                                     NIKE INC
                                     NORMANS AT THE RITZ CARLTON GRANDE LAKES
                                     NVIDIA CORPORATION
                                     PANTHEON HOLDING
                                     PIZZA HUT
                                     REMITCO
                                     RENAISSANCE HOTEL
                                     RENAISSANCE HOTEL DENVER
                                     RENAISSANCE PROVIDENCE HOTEL
                                     RESIDENCE INN BY MARRIOTT MIRAMAR
                                     RESTAURANT ASSOCIATES LLC
                                     RESTAURANT ASSOCIATES MANAGEMENT
                                     RITZ CARLTON BOSTON
                                     RITZ CARLTON DIFC
                                     RPM ON THE WATER
                                     SAFEGUARD BUSINESS SYSTEMS INC
                                     SAMSUNG ELECTRONIC
                                     SHERATON GRAND LOS ANGELES
                                     SHERATON HOTEL
                                     SHERATON HOTELS OF NEW YORK
                                     SHERATON ON THE PARK
                                     SHERATON SEATTLE HOTEL
                                     SOMERSET
                                     SPIRIT AIRLINES INC
                                     ST REGIS
                                     ST REGIS ATLANTA
                                     ST REGIS NEW YORK
                                     ST REGIS TORONTO
                                     STARWOOD HOTELS
                                     SUNBEAM
                                     SUNTRUST BANK
                                     SUPERCOM INC
                                     THE BULGARI HOTEL BEIJING
                                     THE FIFTH INC
                                     THE FORUM GROUP
                                     THE PHILADEPLHIA SHERATON UNIVERSITY CITY HOTEL
                                     THE RITZ CARLTON
                                     THE RITZ CARLTON BERLIN
                                     THE RITZ CARLTON DALLAS
                                     THE RITZ CARLTON DENVER
                                     THE RITZ CARLTON HOTEL COMPANY OF CANADA LIMITED



    Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                  07/08/202 - 47 Entered: 07/08/20 17:02:47   Page 48
                                                     of 55
#    Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                     THE RITZ CARLTON NAPLES
                                     THE RITZ CARLTON REYNOLDS LAKE OCONEE
                                     THE RITZ CARLTON SANTIAGO
                                     THE RITZ CARLTON TORONTO
                                     THE RITZ-CARLTON HOTEL
                                     THE ST REGIS BAL HARBOUR RESORT
                                     THE ST REGIS DEER VALLEY
                                     THE ST REGIS HOUSTON
                                     THE ST REGIS WASHINGTON
                                     THE WESTIN
                                     THE WESTIN ABU DHABI
                                     THE WESTIN BEACH RESORT FORT LAUDERDALE
                                     THE WESTIN BUCKHEAD ATLANTA
                                     THE WESTIN BUND CENTER SHANGHAI
                                     THE WESTIN DALLAS FORT WORTH AIRPORT HOTEL
                                     THE WESTIN DENVER DOWNTOWN
                                     THE WESTIN GEORGETOWN HOTEL WASHINGTON DC
                                     THE WESTIN GURGAON NEW DELHI A/U OF VHPL
                                     THE WESTIN HOUSTON DOWNTOWN
                                     THE WESTIN JERSEY CITY NEWPORT
                                     THE WESTIN PARIS
                                     THE WESTIN PHILADELPHIA
                                     THE WESTIN PLAYA BONITA
                                     THE WESTIN PRINCE TORONTO
                                     THE WESTIN RIVERFRONT RESORT AND SPA AT BEAVER CREEK
                                     MOUNTAIN
                                     THE WESTIN VERASA NAPA
                                     THE WESTIN WALTHAM BOSTON
                                     THE WESTIN WALTHAM BOSTON HOTEL
                                     THE WESTIN WASHINGTON DC CITY CENTER
                                     TORONTO MARRIOTT BLOOR YORKVILLE
                                     TWI
                                     TWITTER INC
                                     UCLA UNIVERSITY CALIFORNIA
                                     VIMEO INC
                                     W NEW YORK
                                     W NEW YORK DOWNTOWN
                                     W NEW YORK HOTEL
                                     W NEW YORK TIMES SQUARE
                                     WALT DISNEY PARKS AND RESORTS US INC
                                     WASHINGTON DULLES MARRIOTT SUITES
                                     WENTWORTH BY THE SEA MARRIOTT HOTEL AND SPA
                                     WESTIN BONAVENTURE HOTEL AND SUITES
                                     WESTIN BOOK CADILLAC DETROIT
                                     WESTIN BOSTON WATERFRONT
                                     WESTIN BUCKHEAD ATLANTA
                                     WESTIN CALGARY HOTEL
                                     WESTIN COLONNADE CORAL GABLES
                                     WESTIN COPLEY PLACE HOTEL
                                     WESTIN DETROIT METROPOLITAN AIRPORT HOTEL
                                     WESTIN DIA OPERATOR LLC
                                     WESTIN HOTELS & RESORTS
                                     WESTIN JERSEY CITY NEWPORT
                                     WESTIN MICHIGAN AVENUE CHICAGO
                                     WESTIN PALO ALTO HOTEL
                                     WESTIN PEACHTREE PLAZA
                                     WRAP MEDIA LLC
                                     WYNDHAM GRAND ISTANBUL LEVENT
                                     XEROX CANADA LTD
                                     XEROX CORPORATION
                                     XEROX CORPORATION - DO ONLY



    Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                  07/08/202 - 48 Entered: 07/08/20 17:02:47   Page 49
                                                     of 55
#      Interested Party Name             Proposed Vendor Connection Name                         Connection Type
                                         XEROX CORPORATION - PCO ONLY
                                         ZEE MEDICAL INC
                                         ZEE MEDICAL SERVICE CO
                                         ZIONS BANK
187    Third Point LLC                   CUSTOM CONNECT BV                                       Vendor
                                         GLOBALTELECOM AND TECHNOLOGY COMMUNICATIONS INC
                                         GLOBAL TELECOM AND TECHNOLOGY INC
                                         GLOBAL TELECOM AND TECHNOLOGY NETHERLANDS B V
                                         GTT AMERICAS LLC
                                         PERSEUS TELECOM LIMITED
                                         TRANSBEAM INC
188    T-Mobile US, Inc.                 DOCUSIGN INC                                            Vendor
                                         THE BALLROOM
189    Topaz Solar Farms LLC             AMERICAN EXPRESS                                        Vendor
                                         AMERICAN EXPRESS CARDS
                                         AMERICAN EXPRESS EADS
                                         AMERICAN EXPRESS MEETINGS AND EVENTS
                                         AMERICAN EXPRESS TRANSACTION
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         HYATT REGENCY ADDIS ABABA
                                         HYATT REGENCY PHOENIX
190    Toronto Dominion Bank             THE TORONTO DOMINION BANK                               Vendor
191    Total Waste Systems of Mariposa   DROPBOX INC                                             Vendor
192    TPG Sixth Street Partners LLC     AMR CORPORATION                                         Vendor
                                         FARE
                                         HIGH POINT SOLUTIONS INC
                                         IMS AG
                                         IMS BUDAPEST
                                         IMS HEALTH INC
                                         IQVIA AG
                                         IQVIA INC
                                         QUINTILES IMS INCORPORATED
                                         RENT COM INC
                                         UBER BV



      Case: 19-30088           Doc# 8334-2    Filed:Schedule
                                                     07/08/202 - 49 Entered: 07/08/20 17:02:47   Page 50
                                                        of 55
#      Interested Party Name               Proposed Vendor Connection Name                          Connection Type
                                           UBER TECHNOLOGIES INC
                                           VIAJES CAMINO DEL SOL SA
193    Travelodge                          DOLCE HOTELS AND RESORTS                                 Vendor
194    Tudor Insurance Company             GLOBAL INFORMATION INC                                   Vendor
195    Ubiquitel LLC                       CIC SHANGHAI INFORMATION TECHNOLOGY CO LTD               Vendor
                                           MEETUP
196    UBS AG                              MEDIA ZOO LTD                                            Vendor
197    UBS Investment Bank                 MEDIA ZOO LTD                                            Vendor
198    UBS Securities                      MEDIA ZOO LTD                                            Vendor
199    Underground Construction Co Inc     CROWN CASTLE FIBER LLC                                   Vendor
200    United Airlines                     AZUL LINHAS AEREAS BRASILEIRAS                           Vendor
201    United States Aircraft Insurance    AMERICAN EXPRESS                                         Vendor
       Group                               AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS
                                           AMERICAN EXPRESS TRANSACTION
                                           AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                           AMEX CARD
                                           APPLE ASIA LIMITED
                                           APPLE INC
                                           APPLE SOUTH ASIA PTE LTD
                                           APPLE STORE
                                           AXA
                                           CITI BUYER CARD
                                           COCA COLA REFRESHMENTS
                                           COCA COLA SCHOLARS FOUNDATION INC
                                           FLORIDA NETWORK SOLUTIONS
                                           GRAND HYATT VAIL
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON BUDAPEST CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON LONG BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON PALMER HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON SHORT HILLS
                                           HILTON ST PETERSBURG CARILLON PARK
                                           HYATT REGENCY ADDIS ABABA
                                           HYATT REGENCY PHOENIX
202    United States Fire Insurance        B AND B CATERING EN LUNCHROOM CATERING                   Vendor
       Company dba Crum & Forster          BLACKBERRY LIMITED
                                           CITI BUYER CARD
                                           CITIBANK XSC LOCKBOX
                                           TD CARD SERVICES
203    United States Liability Insurance   AMERICAN EXPRESS                                         Vendor
       Company                             AMERICAN EXPRESS CARDS
                                           AMERICAN EXPRESS EADS
                                           AMERICAN EXPRESS MEETINGS AND EVENTS
                                           AMERICAN EXPRESS TRANSACTION
                                           AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                           AMEX CARD
                                           APPLE ASIA LIMITED
                                           APPLE INC
                                           APPLE SOUTH ASIA PTE LTD



      Case: 19-30088           Doc# 8334-2       Filed:Schedule
                                                        07/08/202 - 50 Entered: 07/08/20 17:02:47   Page 51
                                                           of 55
#      Interested Party Name           Proposed Vendor Connection Name                          Connection Type
                                       APPLE STORE
                                       AXA
                                       CITI BUYER CARD
                                       COCA COLA REFRESHMENTS
                                       COCA COLA SCHOLARS FOUNDATION INC
                                       FLORIDA NETWORK SOLUTIONS
                                       GRAND HYATT VAIL
                                       HILTON BENTLEY MIAMI SOUTH BEACH
                                       HILTON BUDAPEST CITY
                                       HILTON CHICAGO O'HARE AIRPORT
                                       HILTON DENVER INVERNESS
                                       HILTON FORT LAUDERDALE BEACH RESORT
                                       HILTON HOTEL CARILLON PARK
                                       HILTON INN AT PENN
                                       HILTON JAMAL DAY
                                       HILTON KNOXVILLE AIRPORT
                                       HILTON LONG BEACH
                                       HILTON MUNICH AIRPORT
                                       HILTON NEWARK AIRPORT
                                       HILTON PALMER HOUSE
                                       HILTON PHILADEPHIA AT PENNS LANDING
                                       HILTON SHORT HILLS
                                       HILTON ST PETERSBURG CARILLON PARK
                                       HYATT REGENCY ADDIS ABABA
                                       HYATT REGENCY PHOENIX
204    United Way of the Bay Area      VALLEY OF THE SUN UNITED WAY                             Vendor
205    US Aviation Insurance Group     AMERICAN EXPRESS                                         Vendor
                                       AMERICAN EXPRESS CARDS
                                       AMERICAN EXPRESS EADS
                                       AMERICAN EXPRESS MEETINGS AND EVENTS
                                       AMERICAN EXPRESS TRANSACTION
                                       AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                       AMEX CARD
                                       APPLE ASIA LIMITED
                                       APPLE INC
                                       APPLE SOUTH ASIA PTE LTD
                                       APPLE STORE
                                       AXA
                                       CITI BUYER CARD
                                       COCA COLA REFRESHMENTS
                                       COCA COLA SCHOLARS FOUNDATION INC
                                       FLORIDA NETWORK SOLUTIONS
                                       GRAND HYATT VAIL
                                       HILTON BENTLEY MIAMI SOUTH BEACH
                                       HILTON BUDAPEST CITY
                                       HILTON CHICAGO O'HARE AIRPORT
                                       HILTON DENVER INVERNESS
                                       HILTON FORT LAUDERDALE BEACH RESORT
                                       HILTON HOTEL CARILLON PARK
                                       HILTON INN AT PENN
                                       HILTON JAMAL DAY
                                       HILTON KNOXVILLE AIRPORT
                                       HILTON LONG BEACH
                                       HILTON MUNICH AIRPORT
                                       HILTON NEWARK AIRPORT
                                       HILTON PALMER HOUSE
                                       HILTON PHILADEPHIA AT PENNS LANDING
                                       HILTON SHORT HILLS
                                       HILTON ST PETERSBURG CARILLON PARK
                                       HYATT REGENCY ADDIS ABABA
                                       HYATT REGENCY PHOENIX



      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 51 Entered: 07/08/20 17:02:47   Page 52
                                                       of 55
#      Interested Party Name             Proposed Vendor Connection Name                        Connection Type
206    UTEC Constructors Corporation     ADP LLC                                                Vendor
                                         HOTEL VERNET BY B SIGNATURE HOTELS AND RESORTS
                                         PREMIER CATERING
207    Validus Reinsurance Limited       GLOBAL INFORMATION INC                                 Vendor
208    Valley Power Systems North        RELAYR INC                                             Vendor
209    Vedder Price PC                   VEDDER PRICE PC                                        Vendor
210    Verizon                           VERIZON MEDIA INC                                      Vendor
211    Verizon Business Network Services VERIZON MEDIA INC                                      Vendor
212    Verizon Network Operations        VERIZON MEDIA INC                                      Vendor
213    Vulcan Power Company              AMERICAN EXPRESS                                       Vendor
                                         AMERICAN EXPRESS CARDS
                                         AMERICAN EXPRESS EADS
                                         AMERICAN EXPRESS MEETINGS AND EVENTS
                                         AMERICAN EXPRESS TRANSACTION
                                         AMERICAN EXPRESS TRAVEL RELATED SERVICES CO INC
                                         AMEX CARD
                                         APPLE ASIA LIMITED
                                         APPLE INC
                                         APPLE SOUTH ASIA PTE LTD
                                         APPLE STORE
                                         AXA
                                         CITI BUYER CARD
                                         COCA COLA REFRESHMENTS
                                         COCA COLA SCHOLARS FOUNDATION INC
                                         FLORIDA NETWORK SOLUTIONS
                                         GRAND HYATT VAIL
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         HYATT REGENCY ADDIS ABABA
                                         HYATT REGENCY PHOENIX
214    Wachovia Corporate Services Inc   METROPOLITAN WEST INC                                  Vendor
                                         WELLS FARGO CHAMPIONSHIP
215    Wallace                           WALLACE WILLIFORD INC                                  Vendor
216    Wells Fargo & Company             METROPOLITAN WEST INC                                  Vendor
                                         WELLS FARGO CHAMPIONSHIP
217    Wells Fargo Bank National         METROPOLITAN WEST INC                                  Vendor
       Association                       WELLS FARGO CHAMPIONSHIP
218    Wells Fargo Bank, Ltd.            METROPOLITAN WEST INC                                  Vendor
                                         WELLS FARGO CHAMPIONSHIP
219    Wells Fargo Securities LLC        METROPOLITAN WEST INC                                  Vendor
                                         WELLS FARGO CHAMPIONSHIP
220    Western States Microwave Trans    ONX ENTERPRISE SOLUTIONS LTD CAN                       Vendor
221    Western World Insurance Company GLOBAL INFORMATION INC                                   Vendor
222    Westinghouse                      WESTIN CLEVELAND DOWNTOWN                              Vendor
223    Westinghouse Electric Company LLC WESTIN CLEVELAND DOWNTOWN                              Vendor
224    Winco Inc                         CROWN CASTLE FIBER LLC                                 Vendor
225    Zenith Insurance Company          B AND B CATERING EN LUNCHROOM CATERING                 Vendor


      Case: 19-30088           Doc# 8334-2   Filed:Schedule
                                                    07/08/202 - 52 Entered: 07/08/20 17:02:47   Page 53
                                                       of 55
#    Interested Party Name           Proposed Vendor Connection Name                           Connection Type
                                     BLACKBERRY LIMITED
                                     CITI BUYER CARD
                                     CITIBANK XSC LOCKBOX
                                     TD CARD SERVICES




    Case: 19-30088           Doc# 8334-2    Filed:Schedule
                                                   07/08/202 - 53 Entered: 07/08/20 17:02:47   Page 54
                                                      of 55
# Interested Party Name                   Proposed Banking Connection Name   Connection Type
 1 CitibankN A                            CIT IBAN KN .A.                    Ordinary Course Banking
 2 Citigroup                              CIT IBAN KN .A.                    Ordinary Course Banking
 3 CitigroupEnergy Inc                    CIT IBAN KN .A.                    Ordinary Course Banking
 4 CitigroupGlobalM arkets                CIT IBAN KN .A.                    Ordinary Course Banking
 5 DB Energy T rading                     DEU T S CHEBAN KA.G.               Ordinary Course Banking
 6 DeutscheBank                           DEU T S CHEBAN KA.G.               Ordinary Course Banking
 7 DeutscheBankN ationalT rustCom pany    DEU T S CHEBAN KA.G.               Ordinary Course Banking
 8 DeutscheBankS ecuritiesInc             DEU T S CHEBAN KA.G.               Ordinary Course Banking
 9 DeutscheBankT rustCom pany Am ericas   DEU T S CHEBAN KA.G.               Ordinary Course Banking
10 HS BC Bankplc                          HS BC-U S                          Ordinary Course Banking
11 JP M organChaseBankN A                 JP M O R GAN CHAS EBAN K,N .A.     Ordinary Course Banking
12 JP M organS ecuritiesL L C             JP M O R GAN CHAS EBAN K,N .A.     Ordinary Course Banking
13 JP M organVenturesEnergy Corporation   JP M O R GAN CHAS EBAN K,N .A.     Ordinary Course Banking




   Case: 19-30088        Doc# 8334-2       Filed:Schedule
                                                  07/08/202 - 54 Entered: 07/08/20 17:02:47       Page 55
                                                     of 55
